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                           Earn a funded trading account.
                    Prove yourself as a trader to start trading our money.

                                        Try TopstepTrader for Free




HOW IT WORKS


  1    Prove you can profit

Show that you can make money in the Trading Combine®: our real-time, simulated account.


  2    Show you can manage risk

Confirm our capital will be safe in your hands by passing Funded Trader Preparation™.


  3    Get funded

Your trades. Our money. We take all the risk. You keep up to 100% of the profits in a Funded Account™!




                                           $4,927
                              most profited in a day by a funded trader.
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Zoumanan D.

What TopstepTrader is doing here is something I've been looking for for years. This is a once in a lifetime
opportunity. They already have the people lined up to back you, all you have to do is perform.




     The Tools you Need to Succeed
    Case: 1:17-cv-04412 Document #: 33-1 Filed: 10/06/17 Page 3 of 313 PageID #:743

The Tools you Need to Succeed
TopstepTrader generates daily Trade Reports based on your actual trading activity.
See how you’re winning, why you’re losing, and what you can do to profit more
tomorrow.

        For the first time in 12 years of trading, I really feel I've got a shot at succeeding. Kari M.




                                            20
                               fastest number of days to funded



                                            52
                              average funded traders per month



                                           161
                       countries represented in our trading community
              Case: 1:17-cv-04412 Document #: 33-1 Filed: 10/06/17 Page 4 of 313 PageID #:744




                                                 $549
                                            average weekly profit




  Having worked for prop firms and banks, TopstepTrader is actually better than the rest for getting
              funded, and providing a sensible trading environment and supportive community.




                                                    Eric T.




                                   Become a funded trader.
                                           Try TopstepTrader for Free




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actual trading. Also, because the trades have not actually been executed, the results may have under-or-over compensated for the impact, if any, of certain market
factors, such as lack of liquidity. Simulated trading programs in general are also subject to the fact that they are designed with the bene t of hindsight. No
representation is being made that any account will or is likely to achieve pro t or losses similar to those shown.
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                                      STEP 1

                                  Be evaluated
                                   for funding


                                      STEP 2

                                   Prepare for
                                    funding


                                      STEP 3
                                   Trade your
                                 Funded Account



                                  Performance
                                    coaching



                               Live market analysis
                                   & discussion




                     Become a Funded Trader
          Learn about the path to funding and get started today.
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                                Join for Free   Trade Report   Platform




Join for free & start trading today.
Start trading in a $150,000 simulated free trial account for 14 days or enter the
Trading Combine® to be evaluated for a funded trading account.


                                            Futures   Forex




Prove you can trade.
The Trading Combine and Funded Trader Preparation™ are real-time, simulated
accounts where your performance is evaluated for the opportunity to become a
funded trader.
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Start your Trading Combine now →
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Step 1: Trading Combine®
Enter the Trading Combine and you will have as many days as you need to reach the objective
(below). The monthly cost of the Trading Combine is set to recur every 30 days from the sign up
date, until the objective is met or the account is canceled.


You may reset this account at any time for $100 by clicking on the "Reset" button on your Trade
Report. This will reset your starting balance and rules, but will not change your monthly billing
date.


You will be funded with the same Daily Loss Limit and Max Drawdown as the Trading Combine
you successfully complete.




  Starting Balance                $30K             $50K             $100K            $150K

  Max Position Size                 3 Lot            5 Lot            10 Lot           15 Lot


  Daily Loss Limit                  $500             $1,000          $2,000            $3,000


  Max Drawdown                     $1,500            $2,000          $3,000            $4,500


  Profit Target                    $1,500            $3,000          $6,000            $9,000


  Price Per Month                   $150             $165             $325              $375



                                   Get               Get              Get              Get
                                 Started           Started          Started          Started
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Your Objective
Follow the rules below, meet the profit target, and you will advance to Funded Trader
Preparation.


               Trade a minimum of 10 days
               Only trade during permitted times

               Do not hit or exceed the Daily Loss Limit
               Do not allow your Account Balance to hit or exceed the Trailing Max Drawdown




                                         Profit Target
                                            $3,000

Recommended Platform           View all available platforms →




Step 2: Funded Trader Preparation™
This is the final step to become a funded trader. This free, simulated account is where you will get
accustomed to trading within the same parameters as your Funded Account.
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               Account Successfully                Daily Loss            Weekly Loss             Max                   Profit
               Completed                           Limit                 Limit                   Drawdown              Target



               $30,000                             $500                  None                    $1,500                $1,500


               $50,000                             $1,000                $1,000                  $2,000                $3,000


               $100,000                            $2,000                $2,000                  $3,000                $6,000


               $150,000                            $3,000                $3,000                  $4,500                $9,000




            Trade a minimum of 10 days

            Only trade during permitted times

            Do not hit or exceed the Daily and/or Weekly Loss Limit*
            Do not allow the Account Balance to hit or exceed the Trailing Max Drawdown*

            Do not hold positions into major economic releases

            Follow the scaling plan




Refer to your Net P&L when trading, this represents your daily P&L plus commissions and fees. Funded Trader Preparation accounts have a
starting balance of $0. *The Weekly Loss Limit (if applicable) is eliminated once the Trailing Max Drawdown reaches the starting balance.



Your Objective
Follow the rules on the right, meet the profit target, and you will receive a Funded Account.




                                                             Futures       Forex
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                                           Futures   Forex




                                  The Funded Account
Meet the Objective, get Funded. It's that simple. Trade real money anytime, anywhere, keep
              your first $5,000 in profits, and 80% therea er - with zero risk.



   Step 3: Funded Account™
   Our goal is to empower you as a trader. Here, you keep your first $5,000 in profits, and 80%
   therea er.



      What to expect
                Industry Best
                 Profit Split

           Keep your first $5,000 in
         profits, and 80% therea er.

              Trade Additional
                  Products

          Expand the products you
         can trade to include EUREX
              and ICE products.

                Receive your
                    Profits

          Withdraw at any time. $0
         Wire Fee (min. $250) Learn
                   more

                Industry Low
                Commissions
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     Trade on a Funded Account
       with commissions as low
           as $.53 per contract.




           Account Successfully                       Daily Loss              Weekly Loss                 Max
           Completed                                  Limit                   Limit                       Drawdown



           $30,000                                    $500                    None                        $1,500


           $50,000                                    $1,000                  $1,000                      $2,000


           $100,000                                   $2,000                  $2,000                      $3,000


           $150,000                                   $3,000                  $3,000                      $4,500




    All accounts have a starting balance of $0, and buying power is determined by this scaling plan. Funded traders must adhere
       to these rules. Funded traders are responsible for the data fee cost charged by the exchange. Individuals that have been
    convicted of a violent crime or disciplined by any regulatory agency are not eligible for a funded trader account. Outstanding
                               debts with a clearing firm may also a ect eligibility. More information →




                                        Performance Coaching
 To shorten your learning curve and accelerate your path to funding,
we include coaching as part of our program. In your monthly one-on-
one session, your Performance Coach will review your trades, provide
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guidance on eliminating your bad habits, and help you establish steps
       to improve - all included with your Trading Combine.

                     Schedule your Performance Coach call →
                          or call us at 1 (888) 407-1611.




                                    John Hoagland




                                    Mick Ieronimo
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                                   Danny Hodgman




                                    Slava Malafeev




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with top traders and insights from respected industry professionals. Squawk Radio is
hosted by Eddie Horn, who spent more than 25 years on the trading floor of the CME
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and the CBOT. Eddie gives listeners a unique perspective on the markets and his show
                                 is highly interactive.

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   Real-time trader performance coaching

   Watch professionals trade live




                                       Jason Love
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factors, such as lack of liquidity. Simulated trading programs in general are also subject to the fact that they are designed with the bene t of hindsight. No
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NinjaTrader 7 Connection Instructions


My account status is DUE, now what?




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The Trading Combine®
Rules and Parameters

Trading Combine® Parameters


Trading Combine® Rules




Rules and Parameters FAQ

If I break a rule, does my Trading Combine automatically close?


Can I have more than one active Trading Combine?


Why do I have to roll my contracts?


What happens if I trade the wrong contract month?


What happens if I hit or exceed the Daily Loss Limit?


What holidays aﬀect my trading schedule?


See all 12 articles




Other FAQ
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How Can I Improve My Trading?


What is a Performance Coach?


Can I trade Forex products in the Trading Combine®?


Is there an age requirement?


Are commissions and fees factored in to the Trading Combine?


Do I need to be a US citizen to participate?


See all 11 articles




TopstepTrader                                                              English (US)   
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Articles in this section                                                                             ▾




Trading Combine® Parameters

If you adhere to the rules, and meet the proﬁt target, you'll advance to Funded Trader Preparation™. Upon
successful completion of Funded Trader Preparation, you're guaranteed a Funded Account™.




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Trading Combine® Rules

      Trade a minimum of 10 days
      Only trade during permitted times
      Do not hit or exceed the Daily Loss Limit
      Do not allow your Account Balance to hit or exceed the Trailing Max Drawdown

Compare to Funded Account™ Rules here




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Articles in this section                                                                                    ▾




If I break a rule, does my Trading Combine
automatically close?

If you break a rule, you have the option to reset your account in order to be eligible for a Funded Account
again. This will reset your starting balance and rules, but will not aﬀect your monthly billing schedule.

If you choose not to reset your Trading Combine it will remain active, and you’ll be able to trade on it for
practice. Please be aware that your Trading Combine will not automatically reset or close.




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Articles in this section                                                                                ▾




Can I have more than one active Trading
Combine?

Absolutely-- plenty of our traders will trade on multiple Trading Combine simultaneously to become
funded. There is no limit to how many Trading Combine's you can have running at a time.

That being said, per the brokerage rules, a trader cannot have multiple accounts open at a time.




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Why do I have to roll my contracts?

Per the Trading Combine Rules, you must only trade in the "active month" contract for each product.

Why does this matter to me?

To protect risk and avoid slippage, traders should trade the most active month. The most active month will
be the product month with the most volume. This will start to shift to the new month starting on the date
above. Follow the volume and you will be rolling into the most actively traded month.

How do I change the month of my contract?

Click here to ﬁnd out how to change the contract month on your platform.

How do I know when my contracts roll?

We advise that you follow the volume of your product's contract month on the CME Group's website. Just
click on your product and compare the Volume column./p>




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What happens if I trade the wrong contract
month?

We understand that mistakes may happen, especially when contract months are rolling over.

If you have started the trading day trading the wrong contract month make sure that you ﬂatten that trade.
You can then roll your contract to the front month (highest volume) and continue trading. No rules will
record as broken.

Please note that we do understand that mistakes can happen, however, we require traders to be in the
front contract month. Continued trading outside of the front month can result in a rule violation. 




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What happens if I hit or exceed the Daily Loss
Limit?

Your position may be ﬂattened should you hit or exceed the Daily Loss Limit. We advise you to cover the
position on your own. If this does not occur, you may be automatically ﬂattened by the Risk Manager. If
your Unrealized Net P&L hits or exceeds your Daily Loss Limit at any point during the Trading Combine,
your account is no longer eligible for funding. You have the option to reset your account.




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What holidays aﬀect my trading schedule?

CTS and Rithmic will follow CME protocol on Holidays and will often not clear trades to diﬀerentiate
between diﬀerent trading dates. This means that two trading days can be combined into one. P&L
calculations will not reset and those two days will only count as one Trading Day. 

Please see below for more information regarding speciﬁc holidays and if trades will be cleared.

Dr. Martin Luther King Jr. (Jan 13-17)

      Monday, January 16th: All positions must be closed by 12:00 PM CT. You may reopen positions
      after market open at 5:00 PM CT Monday, January 16th.

Presidents Day (Feb 17-21)

      Monday, February 20th: All positions must be closed by 12:00 PM CT. You may reopen positions
      after market open at 5:00 PM CT Monday, February 20th.

Good Friday (April 13-17)

      Friday, April 14th: Markets Closed. You may reopen positions after market open at 5:00 PM CT
      Sunday, April 16th

Memorial Day (May 26-30)

      Monday, May 29th: All positions must be closed by 12:00 PM CT. You may reopen positions after
      market open at 5:00 PM CT May 29th.
      All trades between 5:00 PM CT Sunday, May 28th and 3:10 PM CT Tuesday, May 30th will count for
      Tuesday’s trade date. This means that any proﬁt or loss will carry through from 5:00 PM
      CT Sunday until the close on Tuesday, counting as one trade date.
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Independence Day (July 3-5)


     Monday, July 3rd: All positions must be closed by 12:00 PM CT. You may reopen positions after
     market open at 5:00 PM CT Monday, July 3rd.
     Tuesday, July 4th: All positions must be closed by 12:00 PM CT. You may reopen positions after
     market open at 5:00 PM CT Tuesday, July 4th.
     All trades between 5:00 PM CT Sunday, July 2nd and 12 PM CT Tuesday, July 4th will count for
     Tuesday’s trade date. This means that any proﬁt or loss will carry through from 5:00 PM
     CT Sunday until the close on Tuesday, counting as one trade date.

Labor Day (September 1-5)

     Monday, September 4th: All positions must be closed by 12:00 PM CT. You may reopen positions
     after market open at 5:00 PM CT Monday, September 4th.
     All trades between 5:00 PM CT Sunday, September 3rd and 12 PM CT Tuesday, September 4th will
     count for Tuesday’s trade date. This means that any proﬁt or loss will carry through from 5:00 PM
     CT Sunday until the close on Tuesday, counting as one trade date.

Columbus Day (October 9)

     Monday, October 9th: Normal Trading Hours

Veteran’s Day (November 10)

     Friday, November 10th: Normal Trading hours

Thanksgiving (November 22-24)

     Thursday, November 23rd: All positions must be closed by 12:00 PM CT. You may reopen positions
     after market open at 5:00 PM CT Thursday, November 23rd.
     Friday, November 24th: All positions must be closed by 12:00 PM CT. You may reopen positions
     after market open at 5:00 PM CT Sunday, November 26th.
     All trades between 5:00 PM CT Wednesday, November 22nd and 12 PM CT Friday, November
     24th will count for Friday's trade date. This means that any proﬁt or loss will carry through from 5:00
     PM CT Wednesday until the close on Friday, counting as one trade date.

Christmas (December 22-26)

     Monday, December 25th: Markets closed. You may reopen positions after market open at 5:00 PM
     CT on Monday, December 25th.

New Year’s (December 29-Jan 2)

     Monday, January 1st: Markets closed. You may reopen positions after market open at 5:00 PM CT
     on Monday, January 1st.
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     on Monday,           Document #: 33-1 Filed: 10/06/17 Page 31 of 313 PageID #:771
                January 1st.




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When and what products can I trade?

All positions must be closed prior to 3:10:00 PM CT. You can then restart trading at 5:00:00 PM CT. 

An asterisk (*) indicates a product with an earlier close than 3:10:00 PM CT and/or a later open
than 5:00:00 PM CT. If the product you are trading has an asterisk please refer to the CME site and follow
the times listed there. Links are provided below.
 
For special holiday hours, please also refer to the Holiday Schedule here.
 
All traders must only trade the “front” (most liquid/highest volume) contract month for all products.
Overnight trading is permitted, although positions must be closed prior to a product’s electronic market
close.

The CME Group products listed below are the products that traders can use to trade in the Trading
Combine.

CME Equity Futures

         E-mini S&P 500 (ES)
         Nikkei NKD (NKD)
         E-mini NASDAQ 100 (NQ)


CME Foreign Exchange Futures

         Australian $ (6A)
         British Pound (6B)
         Canadian $ (6C)
         Euro FX (6E)
         Japanese Yen (6J)
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     Japanese Yen (6J)  Document #: 33-1 Filed: 10/06/17 Page 33 of 313 PageID #:773
     Swiss Franc (6S)
     E-mini Euro FX (E7)

CME Agricultural Futures

     Lean Hogs (HE)*
     Live Cattle (LE)*


CME NYMEX Futures

     Crude Oil (CL)
     E-mini Crude Oil (QM)
     Natural Gas (NG)
     E-mini Natural Gas (QG)


CME CBOT Agricultural Futures

     Corn (ZC)*
     Wheat (ZW)*
     Soybeans (ZS)*
     Soybean Meal (ZM)*
     Soybean Oil (ZL)*


CME CBOT Equity Futures

     Mini-DOW (YM)


CME CBOT Financial/Interest Rate Futures

     2-Year Note (ZT)
     5-Year Note (ZF)
     10-Year Note (ZN)
     30-Year Bond (ZB)
     Ultra-Bond (UB)
     Eurodollar (GE)


CME COMEX Futures

     Gold (GC)




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What happens when I complete the Trading
Combine?

Your Trading Combine will automatically be reviewed the day you've passed once the Trade Reports are
uploaded at 4 PM CT. If you passed the Trading Combine, your monthly subscription will be turned oﬀ and
you'll automatically receive a Funded Trader Preparation account conﬁrmation.




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What is my goal in the Trading Combine?

The objective of the Trading Combine is to reach the proﬁt target without breaking any rules. The proﬁt
target is the amount of net proﬁt that needs to be achieved upon completion of the Trading Combine in
order to be considered for a Funded Account.




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What is the Trailing Max Drawdown?

The Trailing Max Drawdown is best thought of as a minimum account balance. For instance the Trailing
Max Drawdown for our $50K account is $2,000. This means that when you start the account your balance
cannot drop below $48K. This number is calculated at the end of the trading day. Which means that at any
point during the trading day, you can drop below the minimum account balance as long as you are above
it when the day ends
 
The $2,000 is calculated from your account balance high. So, if you make $500 on the ﬁrst trading day
your account balance will be $50,500 which will make your Trailing Max Drawdown $48,500 ($2,000 from
the account balance high). If you were to lose $500 the next day your account balance goes back to
$50,000, but your minimum account balance will remain $48,500. This number will not go below $48,500
for the remainder of that evaluation period. Also once the Trailing Max Drawdown reaches the initial
starting balance of your account, it won’t change for the remainder of your evaluation period. This means
that if you were to make $2,500 the next day and your account balance is $52,500, your Trailing Max
Drawdown will move up to $50,000 and stay there until the account is passed into FTP, reset or cancelled.
 
The starting balance of your account will either be $0, $30K, $50K, $100K or $150K.
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What does Max Position Size mean?

The Max Position Size is the maximum position allowed (absolute value) at any given time. For example, if
you have a Max Position Size of 3, you may be long 2 E-mini S&P and short 1 Crude Oil.




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What is the Daily Loss Limit?

Your Net P&L cannot hit or exceed the Daily Loss Limit at any point during the trading day (5:00 PM CT-
3:10 PM CT). If at any time your Net P&L does exceed this amount for your account, any open trading
positions may be ﬂattened, any pending orders may be canceled, and your account may be prevented
from placing any new trades until the start of the next trading day (5:00 PM CT). The account
automatically becomes ineligible for funding once the Daily Loss Limit is exceeded.

For example, in a $150K Trading Combine, the Daily Loss Limit is $3,000. Therefore, if at any point during
the trading day your Net P&L hits or exceeds -$3,000, the Daily Loss Limit is considered hit.

The Daily Loss Limit is factored based on each trading day’s Net P&L, which includes simulated
commissions, fees, and both unrealized and realized trade P&L values.

We recommend that all NinjaTrader users utilize the R|Trader platform in order to accurately monitor their
Net P&L.




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Funded Account Parameters




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Funded Account™ Rules

      Only trade during permitted times
      Do not hit or exceed the Daily and/or Weekly Loss Limit*
      Do not allow your Account Balance to hit or exceed the Trailing Max Drawdown*
      Do not hold positions into major economic releases
      Follow the Scaling Plan

*The Weekly Loss Limit is eliminated once the Trailing Max Drawdown reaches the starting balance.

 

Compare to the Trading Combine® Rules here

 

 




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Is NinjaTrader free in the Funded Account?

As a funded trader, you're responsible for providing the platform you want to use while trading. Funded
traders who are interested in using NinjaTrader may receive a $100 discount on a Single Broker Lifetime
License or a $300 discount on the Multi Broker Lifetime License. You can ﬁnd more information on the
cost of the NinjaTrader platform here.




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Do I have to pay exchange data fees?

As a funded trader, you are responsible for covering the data fee charged by the exchange. This is a
monthly fee that is not prorated based on start date and is charged by the exchange directly to your data
provider. These fees will be charged during the last week of the month for the following month. Fees may
vary if you require a direct connection. The data for each exchange is charged separately to your credit
card as follows:

      CME products $85.00
      CBOT products $85.00
      NYMEX products $85.00
      COMEX products $85.00
      ICE products $110.00 (eﬀective 04/01/16)
      EUREX products $69.00 USD

For example:

A trader trading one product (or more) on the CME (i.e. E-mini S&P) would be responsible for $85 per
month. Multiple products on one exchange do not increase the fee.

      Add Crude Oil (a NYMEX product) and you would be responsible for $170 ($85 x 2) per month.
      Add Gold (a COMEX product) and you are responsible for $255 ($85 x 3) per month.
      Add another product like Soybeans (a CBOT product) and your responsibility increases to $340 ($85
      x 4) per month.




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How can I make withdrawals?

The trader may request a withdrawal at any time. Withdrawals will generally be disbursed to the trader
within seven (7) business days of the date requested. Further, TopstepTrading will cover costs on transfers
of $250 or greater. For withdrawals less than $250, the trader is responsible for covering the wire transfer
fee of $30 for domestic and $60 for international. Checks, sent via standard mail, are always free. When a
withdrawal is made, the Account Balance may not return to $0. When a withdrawal is requested, the funds
will be removed from the account withing 24 hours and TopstepTrading will receive its share of the proﬁts
at that time, if applicable.




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How are my proﬁts reported on taxes?

Since you ﬁll out a W-9 or W-8BEN, you are considered an independent contractor. All money that the
trading ﬁrm sends you from your proﬁts is considered ordinary income.




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What is the proﬁt split?

All funded traders will receive 100% of their proﬁts on all withdrawals, up to a total of $5,000. The proﬁt
split on cumulative withdrawals over $5,000 is 80/20, with 80% going to the trader.




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What commissions and fees do I have to pay in
the Funded Account?

                                      NinjaTrader, MarketDelta, R|Trader
             Round Turn                 Pro, eSignal, Trade Navigator,        T4,  Sierra Chart
                                               VolFix.NET, ATAS

            Commissions                              1.06                          1.00
            Regulatory Fee                           0.02                          0.02
             Platform Fee                             -                            1.00
                Data Fee                             0.50                            -
            Exchange Fee                                          View here
    Total (excluding exchange fees)                  1.58                          2.02
 

Example using ES

                                      NinjaTrader, MarketDelta, R|Trader
             Round Turn                 Pro, eSignal, Trade Navigator,        T4, Sierra Chart
                                               VolFix.NET, ATAS

            Commissions                              1.06                          1.00
            Regulatory Fee                           0.02                          0.02
             Platform Fee                             -                            1.00
                Data Fee                             0.50                            -
            Exchange Fee                             2.36                          2.36
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                Total                      3.94                        4.38



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Do I have to provide any capital for the Funded
Account?

No-- the account is fully funded by our trading ﬁrm. Also, the trader is never responsible for any losses.




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What exchange fees (per product) do I have to
pay in the Funded Account?

The fees below are set by the exchange: 

Product                             Exchange Fee RT
CME Equity Futures                    
E-mini S&P 500 (ES)                         2.36
Nikkei NKD (NKD)                            4.30
E-mini NASDAQ 100 (NQ)                      2.36
                                      
CME Foreign Exchange Futures  
Australian $ (6A)                           3.20
British Pound (6B)                          3.20
Canadian $ (6C)                             3.20
Euro FX (6E)                                3.20
Japanese Yen (6J)                           3.20
Swiss Franc (6S)                            3.20
E-mini Euro FX (E7)                         1.70
                                      
CME Agricultural Futures              
Live Cattle (LE)                            4.06
Lean Hogs (HE)                              4.06
                                      
CME Interest Rate Futures             
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Eurodollar (GE)                     2.38


                              
CME NYMEX Futures             
Crude Oil (CL)                      3.00
E-mini Crude Oil (QM)               2.40
Natural Gas (NG)                    3.00
E-mini Natural Gas (QG)             1.00
                              
CME CBOT Commodity Futures  
Corn (ZC)                           3.90
Wheat (ZW)                          3.90
Soybeans (ZS)                       3.90
Soybean Meal (ZM)                   3.90
Soybean Oil (ZL)                    3.90
                              
CME CBOT Equity Futures       
Mini-DOW (YM)                       2.32
                              
CME CBOT Financial Futures    
2-Year Note (ZT)                    1.20
5-Year Note (ZF)                    1.20
10-Year Note (ZN)                   1.20
30-Year Bond (ZB)                   1.20
Ultra-Bond (UB)                     1.20
                              
CME COMEX Futures             
Gold (GC)                           3.00
                              
ICE                           
Russel (TF)                         3.32
                              
EUREX                         
DAX (FDAX)                       1.02 (Euro)
Bunds (FGBL)                     .42 (Euro)
                              
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Why do I have to adhere to the Scaling Plan?

The funded trader Scaling Plan is in place to ease traders into the live market environment and build their
equity consistently without taking undue risk. Since we implemented the funded trader Scaling Plan, the
longevity of our Funded Accounts has signiﬁcantly increased.




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What is the Weekly Loss Limit?

Following successful completion of a $50K, $100K or $150K Trading Combine, Funded Trader Preparation
and Funded Accounts have a Weekly Loss Limit. The Weekly Loss Limit is the maximum amount you may
lose at any point in a calendar week (Monday through Friday). The Weekly Loss Limit is equivalent to the
Daily Loss Limit and is factored based on the sum of the total Net P&L in the calendar week. The Weekly
Loss Limit rule is eliminated once the Trailing Max Drawdown reaches the starting balance.




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What is the Scaling Plan?

Traders will initially be required to scale their trading plans in order to survive an initial drawdown and to
allow a true chance of success in Funded Trader Preparation and the Funded Account.

The lot size will increase/decrease according to the graphs below, as you build/lose equity. Your buying
power will not decrease if you make a withdrawal.

In the Funded Account, once your cumulative proﬁt is greater than $5K, you can request adjusted risk
parameters.

The graphs below are based on the Trading Combine you successfully completed. Inside the bar graph is
the account balance and to the right is the correlating Max Position Size.
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What releases do I need to be ﬂat for?

For major economic releases, TopstepTrader refers to this economic calendar. Economic releases cause extreme volatility and large price swings,
therefore, are very diﬃcult to trade consistently and proﬁtably. Due to this increased risk, all traders in Funded Trader Preparation™ and Funded
Account™ must be ﬂat 1 minute before until 1 minute after a major economic release.

Those in the Trading Combine® do not need to be ﬂat during any releases.

Click here for product symbols.

 Unemployment Rate
 ADP Non-Farm Employment change                      ES, NKD, NQ, 6A, 6B, 6C, 6E, 6J, 6S, E7, GE, YM, UB, ZT, ZF, ZN, ZB, GC 
 Non-Farm Employment change
 FOMC Meeting Minutes
                                                                                  ALL PRODUCTS
 FOMC Statement
 US GDP (Advance, Preliminary, Final)                ES, NKD, NQ, 6A, 6B, 6C, 6E, 6J, 6S, E7, GE, YM, UB, ZT, ZF, ZN, ZB, GC
Crude Oil Inventories (EIA)                                                            CL, QM
Natural Gas Inventories (EIA)                                                          NG, QG
 Crop Production                                                                 ZC, ZS, ZW, ZM, ZL




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How many times can I use a promo code?

Most of our promo codes or other incentives can only be used once unless otherwise stated in the promo
code terms of use. We reserve the right to close an account if we believe a single-use discount has been
used for multiple Trading Combines by the same person. If you're ever unsure if you're eligible for a
certain incentive, please contact support at 888-407-1611 or support@topsteptrader.com




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When will my Trade Reports show up on my
dashboard?

Trade Reports are uploaded at the end of each trading day and they should appear on your dashboard by
4 PM CT. If your Trade Reports are uploaded or don't look right, please contact
support@topsteptrader.com.




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How do I reset my account?

You may reset your Trading Combine at any time for $100 by clicking on the "Reset Account" button on
your Trade Report. This will reset your starting balance and rules, but will not aﬀect your monthly billing
schedule.




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What if I don't like the program?

We believe in the opportunity we provide and we stand by our service. We commit to always work to
resolve any issues, however, if in your ﬁrst 14 days you decide TopstepTrader is not the place for you and
you are not satisﬁed with the quality of our service, we will refund a maximum of one month's payment,
we just ask that you provide feedback pertaining to why you're no longer interested in the program.




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How do I sign in to listen to Squawk Radio?

Our Squawk Radio broadcast and chat rooms are open to the public everyday.  Squawk Radio is a great
resource for breaking news, educational segments, trader interviews and more.

To join the broadcast and the interactive chat:

      Click here
      Enter your display name and password
      If you're a guest, choose a display name and check the "Login as guest" box
      Click "Login" to join the room




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Can TopstepTrader hold my Series Number?

TopstepTrader is not registered with the NFA, therefore, we are not able to hold any licenses.




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My account status is DUE, now what?

This means that you need to make a payment on your active Trading Combine, and therefore your
account has been temporarily suspended. Please update your billing information within the next 6 days or
your account will be closed.

Visit My Proﬁle → Billing → Make a Payment, then choose the payment method from the list or enter a
new payment method.

If you have any questions or need any assistance please contact support at 1.888.407.1611 or
support@topsteptrader.com




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What payment methods are allowed for the
Trading Combine®?

TopstepTrader accepts the following methods of payments for the Trading Combine:

      Visa
      Mastercard
      American Express
      Discover
      PayPal




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Articles in this section                                                                                 ▾




Can I put my Trading Combine® subscription on
hold?

The Trading Combine is a monthly subscription, and due to technical limitations, we are not able to put
accounts on hold.

There is no time limit associated with the Trading Combine. So, you’re welcome to keep it open while
you’re away (keep in mind you’ll still be billed once a month) or you can cancel your account at any time.
You can then sign up again when you're ready to trade.




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When will I be charged for the Trading
Combine®?

Your credit card is set to charge once a month from the day you sign up for a Trading Combine. Your
monthly payment will automatically be charged to your card unless you change the card or cancel. To
view your rebill date just log into your dashboard, go to My Proﬁle -> Billing -> you can ﬁnd your next rebill
date under Active Combines.




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How do I remove a credit card?

You can remove a credit card directly from the "My Proﬁle" section of your dashboard. Just click "Billing,"
click on the card you'd like to remove → Edit → Remove Card → Continue. The card should now
disappear from your dashboard. Please keep in mind that you will need to have a credit card on ﬁle for
any future active Trading Combines.

If you have any questions or need assistance, please contact support at 1-888-407-1611 or
support@topsteptrader.com




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How do I cancel my Trading Combine®?

 

We hate to see you go, but if you'd like to cancel your Trading Combine, please contact support at
support@topsteptrader.com.




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How do I change the credit card on ﬁle?

Click here to watch a video on how to update your credit card.

You can update your credit card from the billing section, just click "Link New Card" and ﬁll out the
requested information.

Once you've added the card, select the red box ("Select Method") in the Active Combines section. Select
the new card and click "Change Payment Method". Once you've successfully linked your new card to
your active Trading Combine, you will see a screen that says "Payment method has been successfully
changed." You're all set!

If you have any questions or need assistance, please contact support at 1-888-407-1611 or
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TopstepTrader > Funded Trader Preparation™


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Funded Trader Preparation™
FTP Parameters and Rules

Funded Trader Preparation™ Rules


Funded Trader Preparation™ Parameters




FTP Rules FAQ

What releases do I need to be ﬂat for?


What is the Weekly Loss Limit?


What is the Scaling Plan?


Why do I have to adhere to the Scaling Plan?




FAQ

Can I reset my Funded Trader Preparation account?


Is Funded Trader Preparation free?


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Why does my Account Balance start at $0?


I completed Funded Trader Preparation™, now what?




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Funded Trader Preparation™ Rules

Below are the rules of the Funded Trader Preparation (FTP) account. If any of the rules are violated, your
FTP will be closed and you can return to the Trading Combine.

      Trade a minimum of 10 days
      Only trade during permitted times
      Do not hit or exceed the Daily and/or Weekly Loss Limit*
      Do not allow the Account Balance to hit or exceed the Trailing Max Drawdown*
      Do not hold positions into major economic releases
      Follow the Scaling Plan

*$30K account does not have a Weekly Loss Limit.

*The Weekly Loss Limit is eliminated once the Trailing Max Drawdown reaches the starting balance.

 

Compare to Trading Combine® Rules here




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Funded Trader Preparation™ Parameters




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TopstepTrader > Funded Trader Preparation™ > FTP Rules FAQ


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What releases do I need to be ﬂat for?

For major economic releases, TopstepTrader refers to this economic calendar. Economic releases cause extreme volatility and large price swings,
therefore, are very diﬃcult to trade consistently and proﬁtably. Due to this increased risk, all traders in Funded Trader Preparation™ and Funded
Account™ must be ﬂat 1 minute before until 1 minute after a major economic release.

Those in the Trading Combine® do not need to be ﬂat during any releases.

Click here for product symbols.

 Unemployment Rate
 ADP Non-Farm Employment change                          ES, NKD, NQ, 6A, 6B, 6C, 6E, 6J, 6S, E7, GE, YM, UB, ZT, ZF, ZN, ZB, GC 
 Non-Farm Employment change
 FOMC Meeting Minutes
                                                                                    ALL PRODUCTS
 FOMC Statement
 US GDP (Advance, Preliminary, Final)                    ES, NKD, NQ, 6A, 6B, 6C, 6E, 6J, 6S, E7, GE, YM, UB, ZT, ZF, ZN, ZB, GC
Crude Oil Inventories (EIA)                                                              CL, QM
Natural Gas Inventories (EIA)                                                            NG, QG
 Crop Production                                                                   ZC, ZS, ZW, ZM, ZL




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TopstepTrader > Funded Trader Preparation™ > FTP Rules FAQ


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What is the Weekly Loss Limit?

Following successful completion of a $50K, $100K or $150K Trading Combine, Funded Trader Preparation
and Funded Accounts have a Weekly Loss Limit. The Weekly Loss Limit is the maximum amount you may
lose at any point in a calendar week (Monday through Friday). The Weekly Loss Limit is equivalent to the
Daily Loss Limit and is factored based on the sum of the total Net P&L in the calendar week. The Weekly
Loss Limit rule is eliminated once the Trailing Max Drawdown reaches the starting balance.




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What is the Scaling Plan?

Traders will initially be required to scale their trading plans in order to survive an initial drawdown and to
allow a true chance of success in Funded Trader Preparation and the Funded Account.

The lot size will increase/decrease according to the graphs below, as you build/lose equity. Your buying
power will not decrease if you make a withdrawal.

In the Funded Account, once your cumulative proﬁt is greater than $5K, you can request adjusted risk
parameters.

The graphs below are based on the Trading Combine you successfully completed. Inside the bar graph is
the account balance and to the right is the correlating Max Position Size.
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Why do I have to adhere to the Scaling Plan?

The funded trader Scaling Plan is in place to ease traders into the live market environment and build their
equity consistently without taking undue risk. Since we implemented the funded trader Scaling Plan, the
longevity of our Funded Accounts has signiﬁcantly increased.




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Can I reset my Funded Trader Preparation
account?

There are no resets in Funded Trader Preparation, however, there is also no time limit, so you can take all
the time you need.




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Is Funded Trader Preparation free?

Yes, Funded Trader Preparation is completely free of charge.




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How long do I have to complete Funded Trader
Preparation?

There is currently no time limit to complete Funded Trader Preparation (FTP). As long as you adhere to the
Funded Trader Preparation rules you can take as long as you need to complete FTP. 




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Why does my Account Balance start at $0?

In Funded Trader Preparation and in the Funded Account, you will have the same risk parameters (Daily
Loss Limit, Max Drawdown, etc.) as the Trading Combine that you successfully completed.

Your buying power is determined by our scaling plan. Your account balance will start at $0. This means
your account balance will only show the proﬁts and losses that you make in your account.




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I completed Funded Trader Preparation™, now
what?

The funding process can take as little as one week depending on how quickly the trader completes the
necessary steps.

      After the Trading Combine and Funded Trader Preparation are successfully completed, you will
      receive an email once the final day's Trade Report is posted. 
      Complete the 4 required steps.
      1. Funded Account Agreement
      2. Update Trader Profile
      3. Complete your Funded Trader Goal Sheet
      4. Make Exchange Data Payment
      The account will be created on the brokerage side (3­4 business days). 
      You receive your Funded Account credentials.




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NinjaTrader 7 Troubleshooting


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How to: Highlight entry price on the DOM grid


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Sierra Chart

About Sierra Chart
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Order Templates


Sierra Chart Support


Commissions and Fees


Sierra Chart Connection Instructions


Platform Subscription Information




ATAS (Order Flow Trading)

Contact Support


Connection Instructions




Trade Navigator

Platform Support


How To: Find Net P&L including commissions and fees


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Do I need a license?




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What if my preferred platform isn't listed?


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Platform Comparison


How do I change the contract month on my platform?




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What if my preferred platform isn't listed?

 

You are more than welcome to use any trading platform that can connect to the Rithmic data feed even if
it is not listed on our site. Please keep in mind that the trading platform that you use to trade during the
Trading Combine will be the platform that you are expected to utilize when trading on the Funded
Account.

A full list of platforms that the Rithmic Data Feed is compatible with can be found here.

Please keep in mind that we may not be equipped with the tools needed to provide support for platforms
not listed on our site.

 




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Updated Platform Connection Instructions

Please click your selected platform and follow the steps to complete the connection. If you need
assistance, please call us at 888-407-1611.

NinjaTrader 7

NinjaTrader 8

ATAS (Order Flow Trading)

Trade Navigator

R|Trader

T4

Sierra Chart

MultiCharts

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Platform Comparison


                                                                                          R|Trader                                         Trade            ATAS
      Platform        NinjaTrader         T4           Sierra Chart        MultiCharts               R|Trader VolFix         eSignal
                                                                                            Pro                                           Navigator (OrderFlowTrading)
                                                                                                                                            Trade
      Website         NinjaTrader        CTS            Sierra Chart       MultiCharts     Rithmic   Rithmic    VolFix       eSignal                   English/Русский
                                                                                                                                          Navigator
        User
                         Guides         Guide              Guide              Wiki         Guide      Guide Education Help Center          Guides      English/Русский
Guide/Resources
                                                                                                                             Email &                       Support
Platform Support          Email         Email         Support Board         Live Chat       Email     Email      Email                      Email
                                                                                                                             Phone                    Center/Skype/Email
       Free in
                          YES            YES                 NO                NO           YES        YES        NO           NO            NO              YES
     Combine?
                          YES:
                                                     YES: 30-day free
                        Funded                                                                                 YES: 14-                   YES: 30-
  TST Discount?                          N/A          trial + 15% oﬀ 3         NO           NO         NO                      NO                            N/A
                       Accounts                                                                                Day Trial                  Day Trial
                                                           months
                          only
      License
    Required in           YES             NO                YES               YES           NO         NO        YES          YES           YES              NO
     Combine?
      License
    Required in
                          YES             NO                YES               YES           NO         NO        YES          YES           YES              YES
      Funded
     Account?
                        Lease or                                              Price                              Price        Price         Price
  Platform Prices                       FREE          Price Calculator                    $25/month FREE                                               English/Русский
                          Own                                              Comparison                          Calculator Comparison Comparison
 Trial (Outside of                    Two-Week                                                                  7-Day                     $7 Guest
                           Trial                        15-Day Trial       30-Day Trial     NO         NO                  30-Day Trial                  15-Day Trial
        TST)                             Trial                                                                   Trial                      Pass
     Data Feed           Rithmic         CTS            CTS/Rithmic          Rithmic       Rithmic   Rithmic    Rithmic      Rithmic       Rithmic         Rithmic
      Charts?             YES            YES                YES               YES           YES        NO        YES           NO           YES              YES
       DOM?               YES            YES                YES               YES           YES        YES       YES          YES           YES              YES
 Mobile Platform?          NO            YES                 NO                NO           NO         NO         NO          YES            NO              NO
 Server Held OCO
                           NO            YES                YES                NO           YES        YES        NO           NO            NO              NO
      Orders?
  Brokerage (For
                          NTB       CunninghamCunningham/Stage5              Stage5         NTB       NTB        NTB          NTB          Stage5           NTB
 Funded Account)




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How do I change the contract month on my
platform?

Per the Trading Combine Rules, you must only trade the “front month” contracts for all products. The front
month contract is the most liquid of futures contracts. The futures "rollover" is a period of time when one
product month is going to expire, and longer-term traders who intend to remain in the position need to
"oﬀset" their position in the expiring contract month and re-open their position in the longer term "new"
contract month. Click on the link below for instructions on how to change the month of the contract:

T4

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NinjaTrader 7 Troubleshooting


I have an Apple computer, can I use NinjaTrader?


NinjaTrader License Key Information


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Sending TradeStation strategy order into NinjaTrader


Can I get Level II data on NinjaTrader using your license key?




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NinjaTrader 7 Connection Instructions

Watch this video for a walkthrough of the connection instructions.


  NinjaTrader 7 Connection Demo




    1. Download NinjaTrader 7.34

      If a "Get Connected" window pops up, click the "skip" button located on the bottom left side of the
      pop-up.

    2. Be sure to download version 14.17 or higher of R|Trader and follow these instructions to connect.

    3. NinjaTrader control center:

             Click Help
             Click License Key
             Erase the current License Key and replace it with @TST-COMB-INE1-RITH-MICF-REE2-
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        LIVE-SIM3



        Click Ok




        When prompted "Do you want NinjaTrader to be in simulation mode on application start up?",
        select 'No'




4. From the NinjaTrader control center:

        Click on the Tools menu, then select Account Connections
        Click Add




              The Connection Options menu will pop-up:
              Click Next
              Connection Name: TopstepTrader
              Provider: Rithmic for NinjaTrader Brokerage
              To Connect on Startup, click the box to enable
              Historical Data, select: Enabled
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           Click Next
           Username, type: (found in Account Information email)
           Password, type: (found in Account Information email)
           System: TopstepTrader Paper Trading

                 If you do not see TopstepTrader Paper Trading you will need to upgrade the
                 version of NinjaTrader you are using by clicking the link in Step 1




           Click Next
           Click Finish
           Close Account Connection Set Up window
           From the NinjaTrader Control Center, click on the File menu, hover over Connect and
           click TopstepTrader
           You should now see a green box on the bottom left of your NinjaTrader Control Panel
           that says "Connected to Rithmic For NinjaTrader Brokerage"


  IMPORTANT THINGS TO KNOW BEFORE GETTING STARTED
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     ALWAYS monitor your NET P&L in R|Trader rather than NinjaTrader by clicking on Trader Dashboard,
     and locating the column labeled P&L. R|Trader automatically calculates commissions and fees, while
     NinjaTrader does not display your Net P&L accurately in real time. TopstepTrader Trade Reports are
     calculated using the data from R|Trader.
     Trades placed in SIM101 will not be sent to us. Please be sure to trade in the correct account (found
     in Account Information email).
     If we do not receive your trading results, Trade Reports will not be generated and you will not be
     eligible to be reviewed for a Funded Account. Trade Reports are updated by 4 PM CT each trading
     day, and you can view your Trade Report by clicking here.


                                                      



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TopstepTrader > Trading Platforms > NinjaTrader 7


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About NinjaTrader 7

NinjaTrader has easy to use and powerful order entry and trade management functionality to help you
achieve your trading goals. The SuperDOM and Chart Trader provide traders with ease of operation, clear
trade visualization, and fast entry to capitalize on today’s markets.

SuperDOM

      Easy to see trade visualization
      Single click order entry, modiﬁcation, and cancellation
      Can be used with Advanced Trade Management (ATM) module
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Chart Trader

     Easy to see trade visualization on the chart
     Single click order entry, modiﬁcation, and cancellation from the chart
     Can be used with Advanced Trade Management (ATM) module
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NinjaTrader is the industry leader in trade management features!

     Advanced Trade Management (ATM) is NinjaTrader’s order management technology that lets you
     pre-deﬁne personal trade management strategies including multiple proﬁt targets and stop loss
     orders, one-cancels-other (OCO) orders, auto-breakeven stops, trailing stops and more.


ATM entry box image

     Easily specify multi-stage exit parameters
     Single check box to create an auto-breakeven stop
     Highly conﬁgurable and easy to use auto-trail stop
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Utilize NinjaTrader’s comprehensive market analytics tools to help ﬁnd trading opportunities!

     Regardless of what markets you trade, what style of trader you are or if you require real-time or end -
     of-day analytics, the NinjaTrader platform provides the tools to analyze the markets and your trading
     ideas in a ﬂexible, customizable and user-friendly manner to help you trade better.


Charting

     Powerful market visualization
     Multi-time frame and multi-instrument analysis
     Over 100 pre-built customizable indicators plus 100s of optional 3rd party indictors


Other Analysis Tools

     Trade performance tool
     Market Analyzer
     Strategy analyzer
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Automate and customize your trading!

     NinjaTrader oﬀers custom development and trade automation. You’ll have the ability to automate
     your trading strategies whether they were developed natively using NinjaScript or in an external
     application.


Automated and Custom Trading

     Develop or purchase automated trading strategies
     Analyze automated trading strategies
     Execute automated trading strategies
     Process Trading signals from external applications
     Create or purchase 3rd party custom charting indicators


NinjaTrader is committed to providing Education and Support

     The NinjaTrader team is deeply versed in all aspects of platform operation and can be easily
     accessed through email or their support forum. In addition, NinjaTrader provides daily educational
     webinars and a complete context-sensitive online user’s manual interlaced with many product
     videos to minimize your platform learning curve.
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Education and Support

     Free daily NinjaTrader training webinars
     Media rich help guide
     Video library
     Active user community




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NinjaTrader 7 Connection Troubleshooting

I can't log into NinjaTrader

If you are unable to log into NinjaTrader, this most likely means that you have not successfully logged into
RTrader. Start with Step 1 of the NinjaTrader connection Instructions.

I can't log into R|Trader

You may experience trouble logging into RTrader during market close, as this time is used to perform
maintenance and updates. If you are having trouble logging into RTrader while the market is open, please
check for the following:

      Check that your case-sensitive credentials are entered correctly.
      Make sure no spaces are included before or after your username and password.
      Conﬁrm that the System is listed as 'TopstepTrader', NOT Rithmic 01. If Rithmic 01 is selected, click
      on it to select 'TopstepTrader'.


I don’t see Rithmic for NinjaTrader Brokerage as a connection option

      From the NinjaTrader Control Panel: Click Help, and check that the correct license key has been
      entered: @TST-COMB-INE1-RITH-MICF-REE2-LIVE-SIM3.
      If the correct license key is entered, click on Tools, Account Connections, and remove the
      TopstepTrader account.
      Add the TopstepTrader connection again by repeating step 4 of the NinjaTrader Connection
      Instructions.


I can’t select my account name in the DOM or charts

From the NinjaTrader Control Panel: Click File, and check that Global Simulation Mode is not checked. You
FromCase:  1:17-cv-04412
     the NinjaTrader ControlDocument
                            Panel: Click#: 33-1
                                         File, andFiled:
                                                   check10/06/17  Page
                                                         that Global     115 ofMode
                                                                     Simulation 313 PageID   #:855 You
                                                                                    is not checked.
will not be able to select your TopstepTrader account if this box is checked.



I can’t uncheck Global Simulation Mode

      From the NinjaTrader Control Panel: Click Help, select License Key, and re-enter the key @TST-
      COMB-INE1-RITH-MICF-REE2-LIVE-SIM3.
      Select “NO” when asked if you want NinjaTrader to be in Global Simulation Mode on startup.


If you have platform connection issues that cannot be resolved by troubleshooting, please contact
support@topsteptrader.com.




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NinjaTrader 7 Troubleshooting

No data in your Charts or DOM

Error message: "Bad trigger price"

Error message: "RMS - Buy/Sell Limit Exceeds limit set"

How to: See your Account Balance on the NinjaTrader start-up

How to: Change Contract Month

How to: Reset Instruments

How to: Automatically ﬂatten trades

How to: Set up an OCO

Can I use a NinjaTrader Static SuperDOM?

Tutorial Videos

 


No data in your Charts or DOM

If you are unable to receive data in your NinjaTrader platform or if your charts aren't loading, and you are
successfully connected to TopstepTrader, it could be that you are not trading in the correct month or need
to reset your instruments.


To change contract month please do the following:

      In your NinjaTrader control panel click Tools >> Instrument Manager
    Case:  1:17-cv-04412
     In your                Document
             NinjaTrader control          #: 33-1
                                 panel click Tools Filed: 10/06/17
                                                   >> Instrument   Page 117 of 313 PageID #:857
                                                                 Manager
      On the left hand side you will see a "Default List" of contracts. Select the contract you are trading
      (ES, CL, GC etc).

      At the bottom of the Instrument Manager you will see two arrows. First select the instrument, then
      click the bottom arrow pointing to the right. This will remove the contract from your list.
      Then click the top arrow pointing to the left. This will add the contract back to the list in the correct
      month.
      You can continue to do this for any other products you are trading.



To reset your instruments, please do the following:

      Close out of your R|Trader if you are currently logged in.
      Go into your NinjaTrader Control Panel and click File >> Disconnect >> TopstepTrader
      Click Tools >> Options >> ﬁnd the Data tab >> then click Reset Instruments
      Then you will be prompted to close our your NinjaTrader and reopen it for the changes to be made

 


Error message: “Bad trigger price”

You are receiving this error message because you attempted to place a buy stop order below the market,
or a sell stop order above the market. Sometimes if you place this order right at the market, it will also get
rejected with this message. Buy stop orders can only be placed above the market and sell stop orders can
only be placed below the market, so just be aware of that and you should be good!

 


Error message: "RMS - Buy/Sell Limit Exceeds limit set"

NinjaTrader Risk Manager will not stop you out if you attempt to exceed your Max Position Size, but
exceeding it violates Combine Rules. In order to manage all of your positions, we recommend
downloading the R|Trader platform (Rithmic’s integrated trading platform). - Install the program on your
computer. - Open the R|Trader platform. - Sign in using the same user name and password provided to
you to connect your NinjaTrader system to Rithmic. Select “Paper Trading” for the connection. - Within
R|Trader, click on the “Recent Orders” icon and you will be able to see any working orders and ﬁlled trades
for the current day. To look beyond the current day, click on the “Order History” icon. - If your orders are
not seen on R|Trader, make sure that you have Global Simulation Mode OFF and that you are NOT trading
on the "Sim101" account within your NinjaTrader platform.

 


How to: See your Account Balance on the NinjaTrader start-up

To view your Net P&L (including commissions and fees), open R|Trader, click Trader Dashboard, and
reference the PNL column to see your account balance including commissions and fees. We will always
     Case:the
reference   1:17-cv-04412
              PNL column toDocument   #: 33-1
                           see your account   Filed:including
                                            balance  10/06/17commissions
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                                                                         and    PageID
                                                                             fees. We will#:858
                                                                                          always
rely on our Trade Reports' calculation when evaluating your Combine. If you have not done so already,
please ensure that your platform is set to properly calculate your Commissions and Fees.

From the NinjaTrader Control Center:

      Click on the Tools menu then click Options
      Click the General tab, then click the box to Apply commission to PnL calculations
      Click on the Commission tab and scroll to ﬁnd: Futures - Rithmic
      Click on the + sign for Futures - Rithmic to expand the menu
      A ﬁeld for Commission levels will appear. Click on that line and you will see a "..." appear. Click on
      "..."
      The Collection editor menu will appear, click New
      For Commission, type 1.84. For Units, type 1
      Click OK. This will bring you back to the Options menu. Click OK

 


How to: Change Contract Month

If you are unable to receive data in your NinjaTrader platform or if your charts aren't loading, it could be
because you are not trading in the correct month.

To change contract month please do the following:

      In your NinjaTrader control panel click Tools >> Instrument Manager
      On the left hand side you will see a "Default List" of contracts. Select the contract you are trading
      (ES, CL, GC etc).
      At the bottom of the Instrument Manager you will see two arrows. First select the instrument, then
      click the bottom arrow pointing to the right. This will remove the contract from your list. Then click
      the top arrow pointing to the left. This will add the contract back to the list in the correct month.
      You can continue to do this for any other products you are trading.
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How to: Reset Instruments

If you are unable to receive data in your NinjaTrader platform or if your charts aren't loading, it could mean
that you need to reset your instruments.

To reset them, please do the following:

      Close out of your R|Trader if you are currently logged in.
      Go into your NinjaTrader Control Panel and click File >> Disconnect >> TopstepTrader.
      Click Tools >> Options >> ﬁnd the Data tab >> then click Reset Instruments.
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How to: Automatically ﬂatten trades

Within NinjaTrader you can set up a ﬂatten time automatically by going to Command Center > Tools >
Options > Misc. menu. TopstepTrader is not responsible for any software failures related to this function.
Please review the permitted times for trading each market below.

All positions MUST be closed by 3:10 PM CT and can be reopened after market open at 5:00 PM CT.

 


How to: Set up an OCO

    1. Right click in the SuperDOM and select the menu “OCO Order” to enable this function
    2. For your ﬁrst order, select the desired option from the “ATM Strategy” drop down list
    3. Submit your stop order to buy above the market
    4. For your second order, select the desired option from the “ATM Strategy” drop down list
    5. Submit your stop order to sell below the market
    6. CRITICAL Right click in the SuperDOM and select the menu “OCO Order” to disable this function
    7. For a market fade approach just substitute limit orders with stop orders. This entry technique is
      demonstrated in our free ATM Level I training class that we hold several times per week.

 


Can I use a NinjaTrader Static SuperDOM?

Yes, however it requires the use of a paid NinjaTrader Rithmic license key. If you want to use a Static
SuperDOM, please proceed as follows:

    1. Purchase or convert an existing license to NinjaTrader Rithmic broker technology:
         To purchase, click here.
         To convert an existing license, email platformsales@ninjatrader.com to enable your license for
         Rithmic for NinjaTrader Brokerage and include the license key.
    2. Purchase TT credits for Static SuperDOM by clicking here.
    3. Email platformsales@ninjatrader.com with “Enable Static SuperDOM” as the subject and include that
      you have already purchased TT credits.

 


Tutorial Videos

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I have an Apple computer, can I use NinjaTrader?

NinjaTrader is meant to be used with a windows system. However, if you are using an Apple product there
are some options for you. Please see below:

NinjaTrader-Mac Installation Options

NinjaTrader is a Windows application which relies on the .NET Framework to operate and the .NET
Framework is only available on Windows Operating System and DOES NOT run on the Mac Operating
System.  While we do not oﬃcially support running NinjaTrader on a Mac; we have had many clients run
NinjaTrader on Mac hardware.

We have speciﬁc installation instructions for Parallels and VMWare Fusion which will allow you to run
NinjaTrader on your Mac. Below you will ﬁnd instructions speciﬁc to the available options of running
NinjaTrader on a Mac computer with the virtualization tools. Please note that Windows is sold separately
from BootCamp, Parallels, and VMWare.

Mac Installation - Conﬁguring NinjaTrader for Parallels

When installing NinjaTrader on a Mac using Parallels users will need to ensure that the following steps
have been taken prior to the installation of NinjaTrader.

    1. Start Parallels and select your virtual machine
    2. Press the "Conﬁgure" button on the top
    3. Under "Options", select "Sharing"
    4. Uncheck "Share Mac" under "Share Mac User Folders with Windows"
    5. Press "OK" and start the virtual machine


Mac Installation - Conﬁguring NinjaTrader for VMWare Fusion:

When conﬁguring NinjaTrader on a Mac running VMWare, users will need to ensure that the following steps
have been taken prior to the installation of NinjaTrader.
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have been taken prior to the installation of NinjaTrader.

   1. Start VMWare and select your virtual machine
   2. Press the "Settings" button on the bottom
   3. Under "System Settings", select "Sharing"
   4. Uncheck "Documents" from the "Mirrored Folders" list
   5. Close the "Settings" window and start the virtual machine

Mac Installation - Conﬁguring NinjaTrader for Apple Boot Camp:

When conﬁguring NinjaTrader on a Mac running Apple Boot Camp, there are no special instructions
needed.




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NinjaTrader License Key Information

I don't have a license key through NinjaTrader and I would rather not buy one

I currently have a Single Broker license key

I currently have a Multi-Broker license key

Using the Static SuperDOM in the Combine

 


I don't have a license key through NinjaTrader and I would rather not buy
one.

No problem! Thanks to our partnership with NinjaTrader, you can now use NinjaTrader for free with a
Combine! The free use is exclusive to your TopstepTrader accounts and may not be used with your
NinjaTrader brokerage account or with a funded trading account backed by our trading ﬁrm. Once you sign
up for a Combine you'll receive the license key in an email with instructions to connect.

 


I currently have a Single Broker license key

If you have a Single Broker license key for the NinjaTrader platform that is not set up for Rithmic (Futures),
or is already being used on a separate account, you will need to change the license key that you are
connected to in order to trade your TopstepTrader account.

      Open the NinjaTrader Control Center
      Click Help
      Click License Key
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     Click License Key   Document #: 33-1 Filed: 10/06/17 Page 125 of 313 PageID #:865
      Replace your license key with @TST-COMB-INE1-RITH-MICF-REE2-LIVE-SIM3
      Click OK

If you have a Single Broker license key for the NinjaTrader platform that is not set up for Rithmic (Futures),
but you'd like to use it exclusively for your TopstepTrader account, simply email
platformsales@ninjatrader.com and ask them to enable your license key for Rithmic for NinjaTrader
Brokerage. Please note, you will only be able to access your TopstepTrader account if you choose to do
this. Also, please make sure you're using NT Version 7, at least Release 26.

 


I currently have a Multi-Broker license key

If you have a Multi-Broker license key, it was likely created before we added NinjaTrader Rithmic
technology so it needs to be updated. Please email your license key number to
platformsales@ninjatrader.com and ask them to enable it for Rithmic for NinjaTrader Brokerage. Also,
please make sure you're using NT Version 7, at least Release 26.

 


Using the Static SuperDOM in the Trading Combine

You can use the Static SuperDOM, however it requires the use of a paid NinjaTrader Rithmic license key. If
you want to use a Static SuperDOM, please proceed as follows:

    1. Purchase or convert an existing license to NinjaTrader Rithmic broker technology.
         To purchase, click here.
         To convert, email platformsales@ninjatrader.com and include the license key that you want
         converted to NinjaTrader Rithmic.
    2. Purchase TT credits for Static SuperDOM here
    3. Email platformsales@ninjatrader.com with “Enable Static SuperDOM” as the subject and include that
      you have already purchased TT credits.




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How to: Set up your NinjaTrader connection, commissions, and
complete market data entitlements

  TST Video 100




How to: Use the Instrument Manager
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 TST Video 100




How to: Open and use Chart Trader, place a variety of orders, and create
and use ATM strategies

 TST Video 300




How to: Customize the charts for the Combine
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    TST Video 400




How to: Use Market Replay

    TST Video 500




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Sending TradeStation strategy order into
NinjaTrader

Note:  The information below has been provided by a third­party.  At this time, TopstepTrader does not provide
technical support for TradeStation.  Any use of the information below is done so at your own­risk.


NinjaTrader offers two ways of transferring trade signals from TradeStation Strategies into NinjaTrader. This is done by using
either email automation or Easylanguage, directly from the TradeStation strategy code, by installing a Ninjatrader Daily Loss
Limit into TradeStation. The idea is to route the orders generated by TradeStation's strategies through NinjaTrader orders
platform. 


The two methods for this sort of orders routing is described here.


The email automation method is the only reasonable candidate, but with some caveats and tricky gotchas that if not properly
handled would once more lead to catastrophic errors and signal mis­matches which would result in crashing a Combine.


Sending TradeStation signals into NinjaTrader via email is a two step process. First establishing SMTP connectivity, and
then turning the TradeStation Strategy Orders display checkbox on for that particular strategy. It is only when the orders
display checkbox is turned on, that TradeStation strategy signals start flowing into NinjaTrader, and there could be some
issues with managing it.


(1) When the signal from a TradeStation strategy order goes into Ninja and pops up in the Ninja orders list views, changing
any of those values such as Stops values, or Targets values on the Ninja side manually is a recipe for disaster because then
any subsequent cancelations or alterations from the TradeStation signals side will no longer match.


(2) If the Tradestation strategy is already in a position when the connection is established, the position is NOT automatically
matched on the NinjaTrader side. This can be extremely problematic because a closing signal of an existing TradeStation
strategy position would actually end up opening a new (unintended) position in the direction of the close. For example if the
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strategy position would actually end up opening a new (unintended) position in the direction of the close. For example if the
TradeStation strategy was Long and sent a signal to Close the Long, that would go over to the Ninja side as a signal to open
a Short!



(3) The best case for error free operation is to establish connectivity only when there are no open positions inside the
TradeStation strategy. This can be difficult for strategies that are always in some sort of position; in such cases one has to
enter into a position inside NinjaTrader so that it matches up with TradeStation strategy positions.
 
Overall one must exercise caution and test it out thoroughly, but it can be made to work.


Connecting TradeStation to NinjaTrader


 If you'd like to use the TradeStation platform in the Combine you will need to successfully connect to the NinjaTrader
platform. Please carefully follow these Connection Instructions.
 




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Can I get Level II data on NinjaTrader using your
license key?

Yes. Once you're connected to Ninja with your username and password, Level II data can be loaded under File > New > Level
II.




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How to: Adjust plot execution on charts


How to: Add an instrument


How to: Reset instruments


How to: Batch roll contracts


NinjaTrader Connection 8 Instructions




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How to: Adjust plot execution on charts




If you do not want to view your order executions plotted on your chart you can disable them by following
these steps:


    1. From your chart click the Data Series button, or right-click on your chart and choose Data Series...
    2. Scroll to the bottom to Plot executions and select how you want your trades to be plotted on this
      particular chart.
          Text and marker will display an arrow and text that includes the execution type, lot size, and
          price.
          Marker only will only display an arrow wherever you made executions.
          Do not plot will remove any execution markers on your chart.
    3. After making your selection you can click 'OK'. This customization can be done on any of your
      individual charts.
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How to: Add an instrument




If you do not have a product you want to trade currently in your Instrument List you can quickly add it in
NinjaTrader 8 by following the instructions below:


    1. From the Control Center click on the Tools menu and choose Instrument List.
    2. In the Lists column click on Futures.
    3. At the bottom of the Instruments column click 'add'.
    4. Type in the symbol of the futures product you want to add followed by the contract month and click
      'enter' on your keyboard.
          For example, the May 2017 Crude Oil contract would be entered as 'CL 05-17'.
          You can ﬁnd the symbols and active contact months from our list of permitted products here.
    5. Click 'Apply' and 'OK'. You will now be able to choose this instrument to place trades, create
      DOMs, and create charts!
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How to: Reset instruments

If you ever needed to restore the Instruments to default settings you can do so via the NinjaTrader Control
Center Tools menu and accessing Database. In the Database window, click on Update in the Update
instruments list. For more information on the Database window please see the Database section of
NinjaTrader's help guide.
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How to: Batch roll contracts

NinjaTrader allows batch rollover of the contract expiry of all instruments across all instrument lists and
windows on all open workspaces. To perform this batch rollover please see the steps below.


    1. Select the Tools menu within the Control Center followed by the Database menu item.
    2. The grid for the Rollover futures instruments section will show each instrument that is eligible to
      be rolled over. A contract is eligible to be rolled when today's date is greater than or equal to the
      rollover date deﬁned for the instruments next contract month.
    3. When selecting Rollover, any instrument with a check mark in the Update column will be updated
      to the contract month in the New Expiry column.
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Note: Rolling over futures instruments will update the expiry of the instruments across all instrument lists
and windows using the instruments on all open workspaces. These changes on workspaces will need to
be saved should you wish to preserve them. If there are areas you still wish to use the old expiry with
please be sure to switch them back to the old expiry or do not rollover at this time.

Note: NinjaScript strategies are not rolled forward and must be manually rolled over.
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NinjaTrader Connection 8 Instructions

Watch this video for a walkthrough of the connection instructions.


   NinjaTrader 8 Connection Demo




    1. Download NinjaTrader 8

      If a "Get Connected" window pops up, click the "skip" button located on the bottom left side of the
      pop-up.

    2. Be sure to download version 14.17 or higher of R|Trader and follow these instructions to connect.

    3. NinjaTrader control center:

             Click Help
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        Click License Key
        Erase the current License Key and replace it with @TST-COMB-INE1-RITH-MICF-REE2-
        LIVE-SIM3
        Click Ok




4. From the NinjaTrader control center:
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      Click on Connections




      Click Conﬁgure
      The Connection Options menu will pop-up:
      Click Rithmic for NinjaTrader Brokerage




      Click Add
      Click My Rithmic for NinjaTrader Brokerage
      Connection Name: TopstepTrader
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         Connection Name: TopstepTrader
         Check Connect on Start Up


         Username, type: (found in Account Information email)
         Password, type: (found in Account Information email)
         System: TopstepTrader
         Click Apply
         Click OK
         Close Account Connection Set Up window




 5. From the NinjaTrader Control Center, click Connections and click TopstepTrader
      You should now see a green circle on the bottom left of your NinjaTrader Control Panel and also
      another one next to TopstepTrader when clicking on Connections.


IMPORTANT THINGS TO KNOW BEFORE GETTING STARTED

   Be sure to download version 14.17 or higher of R|Trader and follow these instructions to connect.
   ALWAYS monitor your NET P&L in R|Trader rather than NinjaTrader by clicking on Trader
   Dashboard, and locating the column labeled P&L. R|Trader automatically calculates commissions
   and fees, while NinjaTrader does not display your Net P&L accurately in real time. TopstepTrader
   Trade Reports are calculated using the data from R|Trader.
   Trades placed in SIM101 will NOT be sent to us. Please be sure to trade in the correct account
   (found in Account Information email).
   If we do not receive your trading results, Trade Reports will not be generated and you will not be
   eligible to be reviewed for a Funded Account. Trade Reports are updated by 4 PM CT each trading
   day, and you can view your Trade Report by clicking here.
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How to: Permanently save a T4 layout


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How to: Switch between Trading Accounts


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Platform Features

Streaming Quotes

    Streaming Level 2 Quotes
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    Streaming Level 2 Quotes
    Commodities market information
    See all streaming bids & oﬀers
    See quantities at each price




Quick Trades

    Easy and fast trading software
    See the entire market
    Point... Click... You're ﬁlled!
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Additional Features

    Customizable screens to ﬁt your trading style
    Order management screens with trade information and conﬁrmation
    Ultra-secure transmission of your orders direct to the clearing ﬁrm
    Market depth
    Total volume executed at last price
    Multiple trade windows
    One click stops, trailing stops
    Ability to set audio alerts
    Pull all orders with a single click
    Order book window
    Risk window
    OCO (Order Cancels Order)
    Auto OCO etc.
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System Requirements

PC

      Processor: Intel Core 2 Duo 2,5Ghz / Athlon 64 X2 2,5Ghz or higher.
      RAM: As much as possible. We recommend upgrading your computer or laptop to the maximum
      memory supported by your machine beginning from 2 GB RAM.
      Hard Drive: Our trading software uses approximately 40MB of hard drive space. But it is better to
      have more space to store your studies, models and trading systems.
      Monitor: 1600x1200 monitor resolution or higher.
      Operating System: Windows XP (Home or Professional).
      Software: Microsoft Internet Explorer 5.0.
      Internet Connection: Direct (ISDN, Cable Modem, DSL) connection to the Internet. Do not use Dial-
      up.
      Power Supply: Uninterruptible Power Supply (UPS) to guard your equipment against lightning and
      power outages. Add computer, monitor and modem to UPS.


MAC

T4 does not currently support MAC. T4 has a WebTrader that you can access and login with your account
information. You can also run the T4 platform through a boot camp or parallels partition setup (Windows
system), which can be purchased from Apple. 
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Connection Instructions

   1. Download the T4 platform here.
   2. Please change Firm name to "PTP"
   3. Log in using the username and password sent to you in your Account Information email (case
      sensitive)
   4. Enter your personal information in the boxes provided
   5. Please select "Non Professional"
   6. Read and agree to the four documents at the bottom and click "Save & Continue"

After you have completed the registration, please restart your trading platform to connect.




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How To: Set up Order Templates

CTS now oﬀers two more advanced option Order Templates with just a click of a button. Both Standard
Batch Orders and Multi-Exit OCO’s will allow you to execute up to 16 positions at the same time.

Batch Orders

Batch Orders will help traders who like to scale-in to positions automatically. A trader will be able to place
up to 16 orders at the same time with one click. Please note that these orders will not be standard OCO
orders.

Multi-Exit OCO

Any trader that wants to place a single order with multiple Proﬁt Targets and Stop Losses can now do so
with a Multi-Exit OCO. By placing one trade, any trader can now have the freedom to set multiple proﬁt
targets and stops without the manual work.

More information can be found here




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How to: Permanently save a T4 layout

Once you have your layout the way you like it and you have saved it to the server (by clicking on the
ﬂoppy disk image on the gray main header bar), go to the main bar that has your P&L and Cash and click
on the "Properties" button.


Under the 'Main' tab click 'Save Settings to File'. This will save your layout to your computer. This will
allow you to reload your saved default layout for every account.




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How to: Highlight entry price on the DOM grid

       Go to main properties on the main header bar
       Click the “Contract” tab
       Select the “Average Fill” drop down menu
       Change the Average Fill to “Open Until Close”
       Go to the “Colors” tab
       Click the “Price” box to change it to “Gray”
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How to: Change contract month during rollover




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How to: Switch between Trading Accounts




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How To: Set up Commissions and Fees

On the T4 platform, commissions and transaction fees are automatically calculated and are reﬂected in
real-time on the "Net P&L" column of the account board. Please refer to your Net P&L as this represents
your daily P&L plus commissions and transaction fees.




 


Detailed contract window screen shot
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Platform Support

Download the T4 platform here
Download the T4 User Guide here




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About Sierra Chart

Sierra Chart is a complete Real-Time and Historical, charting and technical analysis platform for ﬁnancial
markets supporting manual, automated and simulated trading. Sierra Chart provides complete trading
support, both basic and advanced, including easy to use automated trading.

Create your own custom studies, indicators and trading systems using the Sierra Chart Advanced Custom
Study Interface. Sierra oﬀers an Advanced ChartDom which is fully functional Trading DOM on the Charts
that functions just like a traditional trading DOM with optional market depth display.

Create Customizable Charts

      Supports Manual, Automated and Simulated Trading.
      Complete Real-time and Historical, Charting and Technical Analysis platform.
      Create your own custom studies, indicators and trading systems.
      Create Intraday charts with any bar period less than 1 day, or greater than or equal to 1 day.
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Advanced TPO Proﬁle charts (also known as Market Proﬁle)

     TPO stands for Time-Price Opportunity.
     Analyze the amount of trading activity, based on time, for each price level the market traded at for
     any given time period.




     Advanced and highly conﬁgurable Trading DOM
     Advanced and highly conﬁgurable Trading DOM which gives you complete trading functionality.
     It supports entry of Limit, Stop, Stop-Limit, and Market if Touched orders.
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 Complete Trade Activity logging
 Complete Trade Activity logging.
 Ability to generate Trade Statistics with various performance related ﬁelds, and a Trades list for any
 period of time and based on other ﬁlters.
 300+ fully customization technical studies and indicators.
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Order Templates

CTS now oﬀers two more advanced option Order Templates with just a click of a button. Both Standard
Batch Orders and Multi-Exit OCO’s will allow you to execute up to 16 positions at the same time.

Batch Orders

Batch Orders will help traders who like to scale-in to positions automatically. A trader will be able to place
up to 16 orders at the same time with one click. Please note that these orders will not be standard OCO
orders.

Multi-Exit OCO

Any trader that wants to place a single order with multiple Proﬁt Targets and Stop Losses can now do so
with a Multi-Exit OCO. By placing one trade, any trader can now have the freedom to set multiple proﬁt
targets and stops without the manual work.

More information can be found here




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Sierra Chart Support

Sierra Chart oﬀers an extensive FAQ page and support board which you can access by clicking the links
below.

FAQ Page

Support Board




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Commissions and Fees

Commissions and fees are not factored into the P&L for Sierra Chart users by default.To change this
setting, follow the instructions below:

    1. To open the Global Symbol Settings window select Global Settings -> Symbol Settings -> Select the
      Symbol for the product(s) that you are trading.

    2. Click on Additional -> Round Turn Commission

      The Round Turn Commission ﬁeld speciﬁes the commission value as a currency value for a
      complete trade which includes both buy and sell order ﬁlls. This commission is multiplied by the
      Quantity of the order ﬁlls. So if the Quantity of the order ﬁlls is 5, then the commission is multiplied
      by 5. The Round Turn Commission applies to either the Symbol or Symbol pattern. Set your round
      turn commission value to be 3.68.

      This commission value is used in the Trade >> Trade Activity Log Proﬁt/Loss calculations when
      Apply Commission is enabled on the Trade Activity Log window. The commission is not used in the
      Proﬁt/Loss calculations within the chart or Trade Window in the chart.

      Here is an example with NKD:
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Sierra Chart Connection Instructions

Since you will be using the CTS data feed, you will be required to complete the CME Market Data
Requirements for CTS.

Please complete this step before you move on to the connection to Sierra Chart!

    1. Sign into CTS in order to ﬁll out the one time requirement from the CME, then you will not be asked
      to do this again. Please click here in order to complete this step.

      Please change the Firm name from "CTS" to "PTP". You will use your username and password
      (case sensitive) that you received in the Account Information email. When ﬁlling out the form, please
      select "Non Professional" for "Type of User".

    2. Launch Sierra Chart platform. To connect please click on File >> Data/Trade Service Settings >>
      Select CTS T4 FIX [trading] from the "Server" drop down list.

    3. In the Connection Details window please ﬁll in the following:

      IMPORTANT! Always use Simulation Server.

             Server: Use Simulation Server
             Username: Found in Account Information email
             Password: Found in Account Information email
             Firm: PTP

      Here is an image of what the window should look like:
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  Click OK to close the Data/Trade Service Settings window.

4. In order to connect properly please ensure that Trade Simulation Mode is disabled (unchecked).
  Click on Trade >> Trade Simulation Mode >> if this is checked, please click to uncheck.

  Here is what it should look like:
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5. Click on File >> Connect to Data Feed.
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Platform Subscription Information

Sierra Chart is not included in your TopstepTrader package, however, the platform is providing an
exclusive oﬀer for users in our program: a 30-day free trial plus 15% oﬀ for 3 months. If for any reason
your trial doesn't run the full 30 days, please contact Sierra Chart here and let them know you're with
TopstepTrader.

    1. Download the platform.
    2. Create an account
    3. Request a discount by starting a support ticket.

For more information on the multi-month discount, please click here.




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Connection Instructions




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Contact Support


ATAS Support

Detailed instructions

FAQ

Email Support: support@orderﬂowtrading.net

Skype Support: orderﬂowtrading


Support hours

Mon-Fri: 9:00-21:00 MOSCOW TIME

Sat-San: CLOSED




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Connection Instructions

Platform installation
Account Connection 


                 ATAS is oﬀered free of charge to all traders in an active Trading Combine account.
 




Platform installation


1.Click here to download the platform.  
 
 




                                                       
 
Press "Next" 
 
Check out the agreement and press "Next".
 
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Press Next.
 
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Click Next




 
Press Next to continue the installation process.


After installation is complete you will see the following window, then press "Finish" to complete the
installation.


Login window will appear:
 
 
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      Enter login and password - same that you will use to connect Rithmic
      Server: Keep Prod.E1
      Press "Connect"


 




You will see a window to connect to CQG data feed, please press "No" because you will be using Rithmic connection.


This completes the installation process.


 

 
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Connection Instructions


    1. Download R|Trader

             Username: (from TopstepTrader Support)
             Password: (from TopstepTrader Support)
             System: click 'Rithmic01' and select 'TopstepTrader'
             Gateway: Chicago Area
             Review the CME Group Market Data Requirements, select 'Non Professional'



In the top right corner of your platform, please click on Settings >> Connection to DataFeed/File 


The following window will come up:




 
Press Connect to connect to data feed.

 



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How To: Find Net P&L including commissions and fees


Connection Instructions


Do I need a license?




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Platform Support

Trade Navigator oﬀers manuals and forums which you can access by clicking the links below:

Manuals

FAQ

Forum




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How To: Find Net P&L including commissions
and fees

Though Trade Navigator does not oﬀer the ability to view your current Net P&L while trading, you can
monitor your intraday Net P&L via the R|Trader platform. Please follow the steps below in order to install
R|Trader on your computer.

Trade Navigator does NOT show your accurate account balance or intraday P&L (including commissions
and fees). Please use R|Trader to track and monitor P&L, intraday balances, and account balances.

Use R|Trader for monitoring P&L.

    1. Download the R|Trader platform (Rithmic's integrated trading platform).
    2. Install the program on your computer
    3. Open the R|Trader platform
    4. Sign in using the same username and password provided to you to connect your Trade Navigator
      system to Rithmic. Select "Paper Trading" for the connection.
    5. Within R|Trader, click on the "Recent Order" icon and you will be able to see any working orders and
      ﬁlled trades for the current day. To look beyond the current day, click on the "Order History" icon.
    6. If your orders are not seen on R|Trader, please contact support@topsteptrader.com




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Connection Instructions

You must ﬁll out the Market Data Requirement forms in R|Trader before you can connect the Trade
Navigator platform to Rithmic. For more information please click here.

Install Trade Navigator

*Before continuing: Please contact Trade Navigator's support, and request that the Rithmic Plug-in be
made available on your platform account. Phone numbers and email are listed here:

      719-884-0245
      support@tradenavigator.com

    1. Click the Trade Navigator icon on your Desktop. The ﬁrst time you open Trade Navigator it will ask
      you if you would like to connect to a Real-Time Server. Please choose 'No'.
    2. Locate the blue 'Phone' icon in the top left hand corner and click on it. A small window will pop up
      in the center of your platform.
    3. Choose 'Download Special' ﬁle, and then click 'Start'. This window should close and another will
      open up that will download the needed ﬁles. This may take a moment.
    4. After the ﬁles are done downloading another window will pop-up and ask if you would like to
      upgrade now. Please choose 'Yes'. Follow the prompts until Trade Navigator asks you if you need to
      re-import Genesis libraries. Please choose "Re-import' and then the platform will open up again.
    5. You should then see a message asking if you would like to Connect to a Real-time server again. This
      time please choose 'Yes'.
    6. Enter your Rithmic credentials, for system select 'TopstepTrader' and choose 'Login.' Once
      connected, you'll receive a message stating: 'There is no activity to verify this time.' This is just
      letting you know your account has no open positions.
    7. Ensure your connection is properly setup in real-time.
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Do I need a license?

The basic version is free, but add-ons require a separate payment. You can compare versions here.

After a 30-day free period, Trade Navigator also requires a monthly data fee subscription when trading
futures, which can be purchased here.

 


 

 


 

 



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About

VolFix.NET is a trading platform, its cutting edge interface combines all the latest innovations in the ﬁeld of
sending market orders. Perfect architecture, high-end interface and revolutionary design will change your
idea of exchange trade and getting really valuable market information. Professional opportunities of this
service for sending market orders give special beneﬁts for operation in derivatives and stock markets of
exchanges such as CME, CBOT, NYMEX, COMEX, EUREX, ICE etc.


VolFix.NET oﬀers unique opportunities for processing and visualization of data on trading volume that are
not available on other platforms. Such innovative charts as Box Chart, Reverse Chart, Cluster Proﬁle, Tick
chat and unique platform modules will provide you with a new perspective on analysis of trading volume
data.


And access to database of all trades of exchanges CME, CBOT, NYMEX, COMEX, EUREX, ICE since
2008 will provide you with unique opportunities for structured handling of historical data and for searching
for similar market environments.
Trading with VolFix.NET:


Standard features:


• Sending market orders with a single click of the mouse
• Placing/removing market orders (limit, stop orders) directly on the chart with one or two clicks of the
mouse
• Placing/removing a group of complex market orders (linking proﬁt and stop orders to placed order) with
one or two "clicks" of the mouse
• Placing hidden in order book stop, limit and complex market orders with two clicks
• Cancelling all placed pending orders with a single click
• Closing current position at the market order with a single click
• Ability to select type of chart to send orders - Bar Chart, Tick Chart, Box Chart (trading volume
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• Ability to select type of chart to send orders - Bar Chart, Tick Chart, Box Chart (trading volume
visualization in real time mode)
• Dynamic interactive Depth of the Market (DOM, order book) on chart
• Ability to use deal of another player or robot, public rating of players and robots in real-time mode to
take your own position


VolFix.NET platform has NEW full-feature capability to send orders through Rithmic, TS4, CQG Fix.
Access is FREE for all customers who have chosen package with access to futures exchanges (CME,
CBOT, NYMEX, COMEX, EUREX, ICE etc.).
For customers, who trade through Rithmic, TS4, CQG Fix now all functions of order window of our
platform are available, namely:
1. All complex orders (T/S, S/L, T/P, Trigger) are processed and stored on server and will work with closed
terminal VolFix.Net
2. Autofollow desk available. Opportunity to connect your account to accounts of other customers of the
platform.
3. Ability to connect to any number of logins Rithmic simultaneously (up to 3 logins for free)
4. Supports all exchanges available in Rithmic (CME, CBOT, NYMEX, COMEX, EUREX, ICE etc.)
5. Supports all connection types (test, general and HFT)
6. Ability to manage multiple accounts simultaneously (duplicate order for 2 or more accounts with a
single click, set up correspondence of accounts)


On the questions of consulting, acquisition and selection of optimal subscription rate, please contact:
E-mail: sales@volﬁx.net

 




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Platform Support

A brief review of all the services and features

In case you have questions on program operation or any technical problems - please contact developer:

      E-mail: support@volﬁx.net
      Skype: volﬁx_support




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Commissions and Fees

    1. At the top of any VolFix window, there is a red control panel with buttons on it. Go to to the right
      corner of that panel and click Window.




    2. Choose Traders Rating from the drop down menu. The Traders Rating window will open.
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3. Go to the Traders Rating Window and click Order Window button on its control panel.




4. Right click anywhere on the chart area of the Order window. Choose Account list from the menu (the
  last menu point).




5. Double click on your TopstepTrader account in the Account Setup menu.




6. Specify commission per side in the Fee Rate ﬁeld.
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   7. Click Apply to close The Account Setup menu, then close the Account list. Now your commission is
     applied to any instrument you trade within that account.




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Connection Instructions

1. Download R|Trader


Log in:

      Username: (found in Account Information email)
      Password: (found in Account Information email)
      System: click 'Rithmic01' and select 'TopstepTrader'
      Gateway: Chicago Area
      Review agreements, select "Non Professional Subscriber"




                       DO NOT CONTINUE IF YOU HAVE NOT COMPLETED STEP #1 (ABOVE)
             ______________________________________________________________________________________

 


1. Please purchase license for VolFix.net platform to use in a Trading Combine. You can do that on VolFix.net website.


2. Download Vol.Fix platform.


Start the program, and use login that you received from Volﬁx.net:
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Click COMPONENT (in the top left corner) > Orders Window 




Then you will see a window (shown below) in which you will need to left click on the chart. Then you will see a window for 
(Account Connections):
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Click on Account Connections and select Rithmic; you will see the following window:




Click Add and you will see the following window, in which you need to select:
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System: Select TopstepTrader


Username: Enter Rithmic username that you received from TopstepTrader Support


Password: Enter Rithmic password that you received from TopstepTrader Support


State > On


Click Apply. This complete the installation process. We recommend that you left click on the chart and select Reload to
reset your chart.


Please note, that if VolFix.Net is connected to Rithmic, you won't be able to connect your account to another platform (for
example, R|Trader). To connect your account to other platforms, you will need to disconnect VolFix.Net from Rithmic.



Platform support
Download manual
 


If you have any technical questions about the platform, please contact:

E-mail: support@volﬁx.net
Skype: volﬁx_support

 

 




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Platform Support

See the following link for the R|Trader user manual: Trader’s Guide

Rithmic support:

      877.408.0008
      support@rithmic.com




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Troubleshooting


Setting up Commissions and Fees

Within R|Trader Pro, click on the “Recent Orders” icon and you will be able to see any working orders and
ﬁlled trades for the current day. To look beyond the current day, click on the “Order History” icon. Within
R|Trader Pro, click on the “Trader Dashboard” and refer to "PNL" column to view Net P&L and account
balances. If your orders are not seen on R|Trader, please contact support@topsteptrader.com




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Connection Instructions

You must ﬁll out the Market Data Requirement forms in R|Trader before you can connect the R|Trader Pro
platform to Rithmic.

   1. Download R|Trader Pro from the following link:R|Trader Pro
   2. Install R|Trader Pro by double clicking on the “RithmicTraderPro” icon that was saved to your PC.
   3. After installation, open R|Trader Pro by double clicking on the “Rithmic Trader Pro” icon on your
      desktop.
   4. When the R|Trader login window appears, enter your TopstepTrader account username and
      password in the appropriate ﬁelds.  From the “System” dropdown menu, choose “TopstepTrader”.
       From the “Gateway” dropdown menu, choose “Chicago Area”.




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About

R | Trader Pro™ is R | Trader™ with charts and a real-time interface to and from Microsoft Oﬃce Excel. In
addition to all the functionality of R | Trader™, with R | Trader Pro™ you can view about 100 studies and
stream them in real-time into Microsoft Oﬃce Excel spreadsheets. With the power of Excel, you may
develop your own indicators and, using Rithmic’s two way real-time interface, you may conﬁgure trades to
be sent back into R | Trade Execution Platform™ through R | Trader Pro™, automatically or with the click
of a button.


Platform Highlights:

      Robust charting package available on R|Trader Pro
      Quote dissemination is quick and clean (and the quotes are non-throttled)
      Orders are routed quickly to Globex (Rithmic servers co-located in same datacenter as CME servers)
      Flexible controls (e.g. margin)
      Comprehensive display and ability to trade electronic options
      Advanced order types are supported including Order Cancels Order and synthetic stops
      Monthly cost is $25.00 for R|Trader Pro
      Windows (including price ladders) can be viewed outside the main application window for
      convenience
      Supports pulse order entry
      Trades route over Rithmic's infrastructure




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About


Platform Subscription Information

You are required to have a personal license key for MultiCharts in order to use the platform during the
Combine. License keys can be purchased for multiple durations: lifetime, quarterly, 6 months, or annual. 


License keys can be purchased via the links below:

      Lifetime
      Quarterly
      6 months
      Annual


About the Platform

MultiCharts is a complete trading software platform for professionals. It oﬀers considerable beneﬁts to
traders, and provides signiﬁcant advantages over competing platforms.

It comes with high-deﬁnition charting, support for 20+ data feeds and 10+ brokers, dynamic portfolio-level
strategy backtesting, EasyLanguage support, interactive performance reporting, genetic optimization,
market scanner, data replay, and 300+ strategies and indicators.

MultiCharts has received many positive reviews and awards over the years, praising its ﬂexibility, powerful
features, and great support. Try the 30 day free trial now!

Complete and Informative Charting

To make the right choice it is equally important to see the small details and the big picture. Our charting is
one of the best in the industry, giving you instant access to all of the information that you need. Multi time
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frame analysis, fast response time, complete interactivity with everything you see—all at your ﬁngertips.




20 + Data Feeds and 10 + Brokers

We feel that you should have the freedom of choice, and that’s why we have added support for over 20
diﬀerent data feeds and 10 brokers to MultiCharts. Competition is good, that’s why you can pick the
providers that suit you best, and change them at any time. No strings attached.




Dynamic Portfolio Backtesting

Proper backtesting helps you determine if your strategies will make or lose money. Dynamic portfolio
backtesting is capable of applying your strategy to many symbols on a bar-by-bar basis, determining
which trade is the optimal one at any given time. It can be an invaluable tool during technical analysis and
strategy development.
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EasyLanguage Support

EasyLanguage has been in development for over 20 years, so it has one of the largest libraries of trading
ideas already implemented. It is so useful to traders, it is considered the industry-standard programming
language. In addition to hundreds of studies that come with MultiCharts, you can create your own, change
existing ones or import any EL code that you can ﬁnd.




Interactive Performance Reporting

It is very important to accurately see how you are doing. The performance report has more than 200
performance measures, including various metrics, ratios, and interactive performance charts. The report
can also monitor real-time trading, since it recalculates on every new order that has been placed.
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Genetic Strategy Optimization

Some traders ﬁnd optimization very useful, because it saves a lot of time searching for optimal inputs for a
particular strategy. Genetic optimization employs a complex algorithm that tests possible inputs in a way
that mimics biological evolution. This approach is a lot faster than trying every possible combination, and it
also helps avoid outliers and curve-ﬁtting.




Scan the Market

When you are looking for opportunities, the Market Scanner can be an invaluable tool.You can instantly
sort up to 5000 instruments to ﬁnd ones that meet a certain criteria, apply indicators to alert yourself when
a condition occurs, and open charts of the necessary symbols for a more detailed look.
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Replay Market Data

Trading the markets is all about predicting where the price will go next. A good way to practice is to apply
your price-predicting skills to historical data. Market Data Replay allows you start playback at any point in
the past, speed up or slow down replay speed, and even playback several instruments at once.




Hundreds of Strategies and Indicators

We have collected the most popular indicators and strategies we could ﬁnd, and included them in the
platform for free, so you don’t have to look for them. All you need to do is right-click on the chart, and they
are at your ﬁngertips. Remember, you can always add more, or write your own in addition to existing ones.
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Sign for a 30-day free trial:

MultiCharts is a professional trading platform, which is widely used by CTAs, ﬁnancial advisors and
individual traders around the world. With positive reviews in popular trading magazines, authorized
resellers around the globe, and a following of satisﬁed customers, MultiCharts is quickly becoming an
industry standard tool in the world of trading.

30-day free trial includes:

      Fully enabled trading platform
      Free EOD data from Google, Yahoo and MSN
      Use of any supported data feed or broker
      Live trading




Sign up for the 30-day free trial now




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Connection Instructions

Complete CME Group Market Data Requirements

      Download R|Trader
      Log in:

             Username: (found in Account Information email)
             Password: (found in Account Information email)
             System: click 'Rithmic01' and select 'TopstepTrader'
             Gateway: Chicago Area
             Review agreements, select "Non Professional Subscriber"

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DO NOT CONTINUE IF YOU HAVE NOT COMPLETED STEP #1 (ABOVE)

Before proceeding, please make sure that your MultiCharts platform is updated to version 10.0 Release
Candidate or newer. Go to MultiCharts download section here. 

    1. Open MultiCharts.
    2. From the main menu bar, click on File --> Broker Proﬁles --> Manage Broker Proﬁles.

    3. The Broker Proﬁles menu will appear. From here, click New and choose Rithmic 01.

      A menu called "Properties Rithmic 01" will now appear.

    4. Insert your login username and password that has been provided to you by TopstepTrader. In the
      "Connectivity" section, change the Deployment ﬁeld to 'TopstepTrader' and leave the rest of
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     the ﬁelds alone. Under the "Default Order Settings" section, click on the Lookup button and wait for



     the "simulator" option to appear in the Trade Route ﬁeld (approximately 30 seconds). When ﬁnished,
     click OK. This will now bring you back to the Broker Proﬁle menu.

   5. From the Broker Proﬁles menu, rename the Rithmic Paper Trading connection to "TopstepTrader".

     Once renamed, select the TopstepTrader connection and click Connect.

   6. Once connected, update the data for your charts and DOMs with the TopstepTrader connection.

To setup your commissions and fees properly, please follow the instructions listed below:

   1. From the Multicharts main desktop, click Format → Strategy Properties
   2. From the Strategy Properties menu, select “$ per Contract” Commission Rule.  Click “Manage
     Rules…” button.
   3. From the Commission Rules Manager menu, click on the “$ per Contract” rule, then click the
     “Edit…” button.
   4. From the Tiered Commission Rule menu: 
        Rename the rule to $1.84 per Contract.
        Volume in “Contracts”
        Reset Volume Counter “after every trade”
        Calculate Commission “in real-time” 
        Click on the rule listed, then click on the “Edit…” button
   5. From the Fixed Commission Rule menu, change the Commission Value to 1.84.  Make sure that
     “Cash per Contract” is chosen.  Click OK.  This will now bring you back to the Tiered Commission
     Rule Menu, click OK.  This will now bring you back to the Commission Rules Manager, click OK.
      This will now bring you back to the Strategy Properties menu, click OK.
   6. Ensure your connection is properly setup in real-time.

           Open the R|Trader platform
           Sign in using the same user name and password provided to you to connect your MultiCharts
           system to Rithmic. Select “TopstepTrader” for the connection.
           Within R|Trader, click on the “Recent Orders” icon and you will be able to see any working
           orders and ﬁlled trades for the current day. To look beyond the current day, click on the “Order
           History” icon.
           If your orders are not seen on R|Trader, make sure that you have Global Simulation Mode OFF
           and that you are NOT trading on the "Sim101" account within your MultiCharts platform.




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Troubleshooting


Setting up Commissions and Fees

Though MultiCharts does not oﬀer the ability to view your current Net P&L while trading, you can monitor
your intraday Net P&L via the R|Trader platform. Please follow the steps below in order to install R|Trader
on your computer. 

   1. Download the R|Trader platform (Rithmic’s integrated trading platform)
   2. Install the program on your computer
   3. Open the R|Trader platform
   4. Sign in using the same user name and password provided to you to connect your MultiCharts
      system to Rithmic. Select “Paper Trading” for the connection.
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Live Support Chat here, Monday - Friday, 6:30 AM - 3:00 PM EST.




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Funded Trader: lopukhin [Kolomna, Russia]
Posted by TopstepTrader on April 20, 2017

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Lopukhin started trading in forex and had planned on opening a personal
brokerage account. He then found out about TopstepTrader® and thought
this was a much better opportunity. While trading, lopukhin determines
the mood in the market and looks for levels. He then defines the points to
enter and catch the trend. His goals include earning $200 to $500 per
trading day as well as travel and still earn money.




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S&P Daily Pre-Market Prep 4/20/17
Posted by Peter Davies on April 20, 2017

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Topics: Market Updates




Funded Trader: christophe [Montreal, Canada]
Posted by TopstepTrader on April 19, 2017

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Christophe is an easygoing and down to earth trader. He works hard while
waiting for the right opportunity. Christophe prides himself on being
patient and excelling in money and risk management. Sometimes during
his trades he lets his emotions take over, however he never gives up. Short
term, christophe wants to become a full time trader. Looking forward, he
hopes to be able to travel while trading.




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Topics: TopstepTrader Funded Traders




S&P Daily Pre-Market Prep 4/19/17
Posted by Peter Davies on April 19, 2017

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Plenty of volume but not much direction yesterday. Still at the
bottom of the range and still thinking it's more likely we'll have a
good move on a break to the downside. A few big companies
announcing earnings before the open - Morgan Stanley, BlackRock,
TD Ameritrade, US Bancorp... Surprises in the financials could help
us move...



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Topics: Market Updates




S&P Daily Pre-Market Prep 4/18/17
Posted by Peter Davies on April 18, 2017

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Market has hit the low of our range a few times and not managed to
make it to the other side. It's still rangebound but I think a lot of
people will see this as bearish, so I'm thinking it won't take much to
bring in downside participation.

It's earnings season - so an eye on the pre-market releases as
anything major could change the mood of the market. 



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Topics: Market Updates




Funded Trader: DaryaUdalova [Aktau, Kazakhstan]
Posted by TopstepTrader on April 14, 2017

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DaryaUdalova saw her husband's results in trading and began to trade
herself. She started to develop by studying strategies and techniques and
has found success here at TopstepTrader®. She uses the scalping method
and trades on impulses. DaryaUdalova has high ambitions of earning
$5,000 in the first two months of being funded and eventually wants to
move with her husband to Vietnam, buy a house, and live and work there.




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Topics: TopstepTrader Funded Traders




Funded Trader: viktortokariev [L'viv, Ukraine]
Posted by TopstepTrader on April 13, 2017

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Viktortokariev took courses on trading about a year and a half ago, which is
where he learned basic strategies. He tries to strictly follow the rules of the
market, analyze its behavior, and use technical analysis. Viktortokariev is
an aggressive trader and is constantly looking to develop. He aims to earn
$10,000 a month as a trader. 




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Funded Trader: sorokovikov [Moscow, Russia]
Posted by TopstepTrader on April 13, 2017
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Sorokovikov started trading options and forex, but he lost his money in
those markets. From that experience, sorokovikov learned the skills of
reading charts and technical analysis. He then started about a half year
ago trading with TopstepTrader®. In his trades, he analyzes the levels of
support and resistance and waits for clear signals. He aims to achieve a
stable income between $2,000 and $5,000 a month through trading.




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Topics: TopstepTrader Funded Traders




Funded Trader: asal [Saratov, Russia]
Posted by TopstepTrader on April 12, 2017

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Asal started trading forex in 2011. He was not very successful and decided
trading futures. His strategy while trading is scalping and position trading.
He concentrates on his goals, so he is strict in his planning for trading
everyday. His motivation comes simply from liking to make money. He
hopes in the near future to earn $5,000 from trading.




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Funded Trader: svd07 [Moscow, Russia]
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Posted by TopstepTrader on April 12, 2017

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Svd07 has background in trading forex, which helped him form the basics
of strategy and skill. A er trading forex for a while, he came across
TopstepTrader® and has been trading futures since. He trades using several
things including position trading, trading on the news, and more. He aims
to make $6,000 in April and eventually use his money he earns to provide
foreign education for his children.




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Обзор e-mini SP500 19 апреля 2017 года.
Posted by Команда ТопстепТрейдер on 19.04.2017 9:19:26

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ES находится в диапазоне объема контракта, - 2336.00 - 2366.00.
17.04 похоже поймали продавцов, 18.04, - день баланса.
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Обзор e-mini SP500 17 апреля 2017 года.
Posted by Команда ТопстепТрейдер on 17.04.2017 8:05:18

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Прошлую неделю ES расторговался вниз.
Пробита важная поддержка 2341.00, которая теперь станет
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Это хороший уровень для продаж. Если пройдем выше 2342.00,
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Topics: Новости рынка




Финансируемый Трейдер: DaryaUdalova [Актау, Казахстан]
Posted by Команда ТопстепТрейдер on 14.04.2017 11:00:00

   Твитнуть    Поделиться   0    Нравится 6   Поделиться     0


DaryaUdalova увидела результаты торговли своего мужа и решила
также начать торговать. Она начала изучать стратегии и техники,
благодаря которым у нее получилось достичь успеха в
ТопстепТрейдер. Она скальпирует и торгует на импульсах. У
DaryaUdalova прекрасные амбиции! Она стремится заработать за
первые два месяца $5,000 и переехать со своим мужем во Вьетнам,
купить дом, чтобы жить и работать там.




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Topics: Информация о финансируемых трейдерах




Финансируемый Трейдер: viktortokariev [Львов, Украина]
Posted by Команда ТопстепТрейдер on 13.04.2017 14:23:51

   Твитнуть    Поделиться   0    Нравится 2   Поделиться     0


Viktortokariev брал год или пол года назад курс по трейдингу, в котором узнал базовые стратегии.
Он старается строго придерживаться правилам рынка, анализировать его поведение и
использовать технический анализ. Viktortokariev - агрессивный трейдер, который постоянно
стремится развиваться, на данный момент его цель - заработать $10,000 за месяц торговли. 
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Финансируемый Трейдер: sorokovikov [Москва, Россия]
Posted by Команда ТопстепТрейдер on 13.04.2017 14:16:41

   Твитнуть    Поделиться   0    Нравится 1   Поделиться   0


Sorokovikov начинал с торговли на рынке форекс и опционами, однако
на этих рынках он потерял свои деньги. Несмотря на это, sorokovikov
получил навыки чтения графиков и технического анализа. Спустя пол
года он узнал о ТопстепТрейдер. Для сделок, он анализирует уровни
поддержки и сопротивления, ждет чистых сигналов. Сейчас он
стремится достигнуть стабильного дохода от $2,000 до $5,000 за месяц
торговли.




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Topics: Информация о финансируемых трейдерах




Финансируемый Трейдер: asal [Саратов, Россия]
Posted by Команда ТопстепТрейдер on 13.04.2017 14:07:10
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   Твитнуть    Поделиться   0    Нравится 1   Поделиться    0


Asal начал торговать на рынке форекс в 2011 году, однако на тот момент
он не был успешен, так что он решил попробовать переключиться на
фьючерсные рынки. Сейчас он приверженец позиционной торговли и
скальпинга. Он концентрируется на своих целях, поэтому обязательно
планирует каждый свой день. В длижайшее время asal стремится
заработать $5,000.




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Topics: Информация о финансируемых трейдерах




Финансируемый Трейдер: svd07 [Москва, Россия]
Posted by Команда ТопстепТрейдер on 13.04.2017 12:06:47

   Твитнуть    Поделиться   0    Нравится 1   Поделиться    0


Svd07 имеет опыт торговли на рынке форекс, что помогает ему
формировать основу для стратегий. Спустя некоторое время, он
присоединился к ТопстепТрейдер. Сейчас он торгует, используя
позиционную торговлю, торговлю на новостях и многое другое. Svd07
стремится заработать $6,000 за апрель, чтобы появилась возможность
оплатить учебу в заграничных университетах для своих детей.




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Topics: Информация о финансируемых трейдерах




Финансируемый Трейдер: novkvart [Павлоград, Украина]
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Posted by Команда ТопстепТрейдер on 12.04.2017 10:47:47

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Novkvart 3 года назад решила уйти из своей профессии архитектора и
потратить время на то, чтобы обучиться торговле. Она по-началу сама
училась на форексе, но не достигла большого успеха, однако спустя
некоторое время, она решила перейти на фьючерсные рынки и
продолжать учиться. Novkvart торгует на небольших таймфреймах и
предпочитает не долго оставаться в сделке.




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Topics: Информация о финансируемых трейдерах




Финансируемый Трейдер: VadimK [Люберцы, Россия]
Posted by Команда ТопстепТрейдер on 12.04.2017 10:34:02

   Твитнуть    Поделиться   0    Нравится 1   Поделиться     0


VadimK в 2016 году искал дополнительный источник заработка и узнал о
трейдинге. С тех пор трейдинг для него стал хобби. Его торговая
стратегия представляет собой смесь скальпинга и позиционной
торговле. Его цель - заработать за апрель $5,000, а в конечном итоге он
хотел бы жить на Карибских островах, зарабатывая торговлей.




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Финансируемый Трейдер: chaoba [Батуми, Грузия]
Posted by Команда ТопстепТрейдер on 12.04.2017 10:26:50

   Твитнуть          Поделиться   0   Нравится 1   Поделиться   0


Chaoba начал с торговли на рынке форекс. На тот момент у него было
знакомство с основами трейдинга на фондовой бирже, торгуя
терминальными индикаторами. Затем он учился в школе трейдинга,
где обучали как профессионально торговать. Спустя немного времени,
он присоединился к ТопстепТрейдер, где применял полученные в
школе знания.




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Популярные
      Обзор e-mini SP500 19 апреля 2017 года.
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pursue their dreams.

    VISION


To be where the world goes to
safely engage in and profit from
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financial markets.

    VALUES


We believe..
  Empowered people yield great results
  Users should have a great experience
  In the well-being of our team
  Innovation never sleeps




       FOUNDER MESSAGE

       Although there is no typical profile for what makes a
       successful trader, my path was certainly not a
       traditional one. Having grown up in rural Nebraska,
       there wasn’t much opportunity in my town outside
       of skilled labor, farming and meatpacking.

       I always had larger aspirations. I dreamed of moving
       to a city where I could make something of myself,
       where my success or failure was dependent upon my
       own skill and e ort. As a teenager watching the
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 movie “Trading Places”, I knew that Chicago and
 trading were the opportunity for me.




 Unfortunately, I didn’t have a finance background or know a soul in
 trading, but I was determined. A er saving up my hard earned money, I
 moved to Chicago in my early twenties to pursue my dream. By the time
 I was 24 years old, I had lost it all - $90,000 to be exact. I took a step back
 and realized I needed to safely develop my trading strategy without
 risking any more capital. I spent 6 months trading on a simulated
 account, following simple risk parameters and trading rules. Only a er I
 proved to myself that I could consistently make money each day did I
 put risk back on.

 I went on to routinely average 6-figure profits each year, including a best
 day of $33,000.

 TopstepTrader is the solution to an outdated, ine icient industry. Before
 TopstepTrader, your only options were to go it alone by risking
 thousands of dollars in a brokerage account, or spend thousands on
 trading education relying on theory and not experience.

 Now, a er you safely develop in and complete a our program, like 1,000+
 traders already have, you are rewarded with a fully Funded Account.

 Trade well and always trade for tomorrow,
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 Michael Patak
 Founder and CVO
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              Work at TopstepTrader
   TopstepTrader is a young and innovative early-stage fintech company that provides people from
                                              around the
    world the opportunity to earn trading capital. We o er our users an evaluation of their trading
                                             performance
in a real-time, simulated account, and fund those who complete the objective. With over 30,000 users
                  derived from organic growth, we are not slowing down any time soon.

   With 25 employees across two o ice locations, we’re growing our passionate team, user base,
               and business model while reinventing the retail brokerage industry.
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LIFE AT TOPSTEPTRADER


Top-tier Healthcare


Flexible PTO


Paid Maternity Leave


Summer Hours


Work From Home Opportunities


Bonus Incentives


Culture of Development


Cereal & Snack Bar
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       Casual O ice Environment


       O sites and Happy Hours


       Supported Volunteer Time



OPEN POSITIONS

Are you seeking a challenging position alongside smart and talented people? If you have
a genuine enthusiasm for entrepreneurship and enjoy a friendly company culture, fun
events and great perks, then join us in making TopstepTrader even better!


Currently, we have no job openings. Please check back later.
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          The A iliate Program is your way to profit while also helping traders profit. As a
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                                             Apply Now
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Access your link generator, banner
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asked questions.



Learn More
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                                           O ering a funding opportunity to our traders via TopstepTrader ha
                                         helped us grow our business while adding a profit center, but has ch
                                                  lives of many of our traders. That's what I call a win-win-wi

                                                                       Sean Kozak, Founder and CEO
                                                                       Goldenzonetrading.com




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Privacy Policy
Last Modified: September 16, 2016

1. Scope of this Privacy Policy

This Privacy Policy outlines what types of information from our account holders, users, visitors and customers
(“you”, “your” or “User”) are collected, to whom it may be disclosed, and how that information may be used
by TopstepTrader, LLC. (“TopstepTrader”, “we”, “our” or “us”), as each of the foregoing relates to your use of
TopstepTrader’s websites, so ware, applications, online services and products (collectively, the “Sites or
Services”).

By using the Sites or Services, you agree that you have read, understood, and consented to this Privacy
Policy, our Terms of Use, all amendments, addenda, and licenses to each of the Privacy Policy and the Terms
of Use (collectively, the “Agreement”). By using our Sites or Services, you consent to TopstepTrader’s use of
your information and data as described in the Agreement. If you do not agree to the terms of this Privacy
Policy, do not use the Sites or Services.

Please check back periodically as TopstepTrader reserves the right to change, modify, add, or remove
portions of this Privacy Policy a er providing notice to you. The form of such notice is determined at our
discretion. Any modification or change shall be e ective upon such notice. You agree to be bound by any
changes to this Privacy Policy a er receipt of such notice, or you shall discontinue your use of the Sites or
Services. Should you have any questions or concerns at any time, see the contact information below.

2. Collection of Personal Information

You may choose to register an account with our Sites or Services and we may collect certain personal
information from you in order to provide services and to complete transactions.

When you register with us through our Sites or Services, we will ask you for personally identifiable
information. This refers to information about you that can be used to contact or identify you (“Identity
Information”). Identity Information may include your name, phone number, email address, postal address,
username, password, zip code, age and income.

Our Sites or Services may provide links to third-party applications, products, services, or websites for your
convenience and information. If you access those links, you will leave our Sites or Services. We do not control
those third party sites and services or their privacy practices, which may di er from our practices. We do not
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endorse or make any representations about third-party sites. Any information you choose to provide to, or
that is collected by those third parties is not covered by the Agreement. We cannot control the activities of
third parties, and we have no responsibility for any use of the information provided by such third parties. Any
information you choose to provide to third party websites or products will be governed by the policies of
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If you post, comment, or share personal information, including ideas, suggestions, opinions, comments,
observations, or other material (collectively, a “User Submission”) to any public forum on our Sites or
Services, including any publication, article, social network page, blog, chat room or other such forum, be
aware that any Identity Information disclosed in your User Submission can be read, viewed, collected, or
used by other users of these forums, and could be used to contact you, send you unsolicited messages, or for
purposes that neither you nor we control. TopstepTrader is not responsible for the Identity Information
contained in your User Submission.

3. How We Use and Share Your Information

We use the information you provide to o er, manage, and/or improve our Sites or Services, including but not
limited to improving content; adapting or adding in new features and functionality; providing and improving
service and support; delivering relevant advertising; assisting with social sharing functionality; developing
new products and services; selecting content to be communicated to you; aggregating certain types of
information to better understand or provide better engagement with our Users; contacting you regarding our
products or services; and preventing and detecting security threats, fraud or other malicious activity.

TopstepTrader may share your Identify Information with our a iliates or with third parties, which provide
services to us and which agree to keep such Identify Information confidential.

We may employ third party companies and individuals for any of the following: to facilitate the Sites or
Services; to provide the Sites or Services on our behalf; to perform related services, including maintenance,
database management, web analytics, and improvement of the features or functionality; or to assist us in
data analysis.

We employ a third party company to process debit, credit and other payments and to perform related
services.

We may collect and aggregate general information about you and your preferences and interests using that
information for limited commercial purposes, and we may share or sell such aggregated general information
with our business partners, vendors, distributors or other collaborators for these same purposes.

We retain the right to disclose Identity Information as allowed or required by law. We may also disclose
Identity Information under the following circumstances: (a) to respond to duly authorized information
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requests of police and governmental authorities; (b) to comply with any law, regulation, subpoena, or court
order; (c) to investigate and help prevent security threats, fraud or other malicious activity, (d) to investigate
and help prevent a violation of any contractual or other relationship with TopstepTrader or the perpetration
of any illegal or harmful activity; (e) to enforce and protect the rights and properties of TopstepTrader, its
a iliates and its business partners; or (f) to protect the personal safety of our employees, agents, a iliates,
business partners, customers or site users. In connection with or in contemplation of a merger, consolidation,
or sale or transfer of all or substantially all of the assets of TopstepTrader, your Identity Information may be
transferred to the purchasing or new entity. The use of this information by any purchasing or surviving entity
would be governed by the terms of this Privacy Policy, as amended from time to time, including any
amendment a er such transaction.

Your information may be transferred to and maintained on computers and servers located outside of your
state, province, country, or other governmental jurisdiction where the privacy laws may not be as protective
as those in your jurisdiction. If you are located outside the United States and choose to provide information
to us, TopstepTrader transfers Identity Information to the United States and processes it there. Your consent
to this Privacy Policy followed by your submission of such information represents your agreement to that
transfer.

California Privacy Rights

Pursuant to Section 1798.83 of the California Civil Code, residents of the State of California have the right to
request from a business, with whom the State of California resident has an established business relationship,
certain information with respect to the types of personal information the business shares with third parties
for direct marketing purposes by such third party and the identities of the third parties with whom the
business has shared such information during the immediate preceding calendar year.

To request a copy of the information disclosure provided by us pursuant to Section 1798.83 of the California
Civil Code, please see contact information below.

4. Children’s Privacy

TopstepTrader Sites or Services are not intended for use by children and are not targeted to children.
TopstepTrader does not knowingly collect information from children under the age of 13, solicit information
from children, or market products to children.

5. Keeping Your Personal Information Secure

To prevent unauthorized access or disclosure, to maintain data accuracy, and to ensure the appropriate use
of the information, TopstepTrader utilizes generally accepted industry standards to protect your Identity
Information submitted to TopstepTrader or relies on the services of third parties to provide the same.
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However, no method of transmission over the internet, or method of electronic storage is 100% secure. We
cannot guarantee the absolute security of your Identity Information.

6. Log Data and Cookies

When you use our Sites or Services, our servers automatically record information that your browser sends
whenever you visit a website (“Log Data”). This Log Data may include information such as your Internet
Service Provider; your computer’s Internet Protocol address, browser type, and operating system;
referring/exit pages; clickstream data; pages of our Sites or Services that you visit, the time spent thereon,
information you search for on our Sites or Services, access times, and dates; and other statistics. We use this
information to monitor and analyze use of our Sites or Services and for technical administration of the same,
to increase the functionality and user-friendliness of our Sites or Services, and to better tailor each of them to
our Users’ needs. In addition, we may use this information to serve advertisements and other information
appropriate to your interests.

We may aggregate, analyze, and evaluate such Log Data for the same purposes as stated above regarding
other aggregated information.

TopstepTrader Sites or Services use standard Internet technologies such as “cookies” and “web beacons” in
order to retrace your interaction with our sites and services. “Cookies” are small files that are placed on your
hard drive for identification purposes. These files are used for site registration and customization the next
time you visit us. Your web browser may allow you to be notified when you are receiving a cookie, giving you
the choice to accept it or not. You have the ability to prevent cookies from being saved on your computer by
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fully function and you may not be able to access certain information on this site.

7. Changes to this Statement

The terms of the Privacy Policy may change from time to time. If we modify our Privacy Policy, we will notify
you and post the revised statement here, with an updated revision date. If you do not agree to any changes to
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8. Contact Us

We value your opinions. If you have comments or questions about our Privacy Policy, please send them to
support@topsteptrader.com. You can also write to us at:

TopstepTrader, LLC
130 S. Je erson St., Suite 200
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factors, such as lack of liquidity. Simulated trading programs in general are also subject to the fact that they are designed with the bene t of hindsight. No
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Last Modified: September 16, 2016

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We reserve the right to modify or change these Terms a er providing notice to you. The form of such notice is
at our discretion. Any modification or change shall be e ective upon such notice. You agree to be bound by
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TopstepTrader, LLC
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We operate the following website: www.topsteptrader.com

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MAJEURE.

9. Purchases; Credit Card and Other Financial Information
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TopstepTrader allows Users to place orders for subscriptions or other services through the Sites or Services or
through a third-party a iliate (“Orders”).

Upon placing an Order, you shall pay to Company the purchase price as set forth in the “Order Summary”
page or similar ordering mechanism. Company or its third-party a iliates may utilize the services of certain
third-party payment processors to process payments of credit cards and other accepted methods of
payment. Your purchase is subject to any additional terms and conditions imposed by such third-party
payment processors. The purchase price and any applicable fees or taxes shall be applied to your chosen
method of payment upon submission of your Order.

Upon the purchase of an Order or other service rendered by TopstepTrader through the Sites or Services, you
acknowledge that the TopstepTrader will provide availability and access to the particular service requested.
Your participation in, or failure to use such purchased service does not entitle you to a refund.

Prices and availability of products are subject to change without notice. Errors will be corrected where
discovered, and Company reserves the right to revoke any stated o er and to correct any errors, inaccuracies
or omissions including a er an Order has been submitted and whether or not the Order has been confirmed
and your payment method accepted and charged. In the event your payment method has been accepted
and charged, Company will issue you the appropriate credit within a reasonable time a er your Order has
been revoked.

TopstepTrader accepts payments via credit and debit card through our Sites or Services. Certain credit and
debit card information, including your card information, phone number, address, name and email address
(“Credit Card Information”) will be encrypted and received via a secure page. You represent and warrant that
you are an authorized signatory of the credit or debit card or other method of payment that you provide to
TopstepTrader or its third-party payment processor to pay any fees or taxes related to your purchases of
products or services through our Sites or Services.

We use industry standard technology and commercially reasonable measures to protect Credit Card
Information from misuse. TopstepTrader may utilize the services of certain third-party payment processors to
process payments of credit cards and other accepted methods of payment.

If you are directed to a third-party website to make purchases, your purchase will be governed by the terms of
such third party website. If you desire to supply Credit Card Information, Identity Information or financial
information to any third party service provider or to any Linked Web Site, you do so at your own risk and
discretion. We strongly recommend you review the terms and conditions and privacy policy of any third party
before providing such information.

10. Linking to Our Sites
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You may link to our Sites or Services, provided you do so in a way that is fair, in compliance with all applicable
laws, rules and regulations, and does not damage our reputation; provided that you shall not establish a link
in such a way as to suggest any form of association, approval or endorsement on our part without our
express written consent.

11. Restricted Sites and Passwords/User Registration

Certain functionality of the Sites or Services are limited to Users who have registered an account for the
applicable services. Such Users will have a unique User ID and password combination (“User Credentials”)
and will have provided Identity Information (collectively, a “User Account”). You represent and warrant that all
account information is truthful and accurate and you will update such information to ensure its accuracy. You
represent and warrant that you have provided a valid email address at the time of registration. You agree that
all information you provide to register with our Sites or Services or otherwise, including through the use of
any interactive features on our Sites or Services, is governed by our Privacy Policy, and you consent to all
actions we take with respect to your information consistent with our Privacy Policy. You may update your
personal information through our Sites or Services or by contacting us via the contact information provided
above.

Users are responsible for the confidentiality of User Credentials, and shall be responsible and liable for access
to or use of the Sites or Services by such User or any other person or entity using such User Credentials
(whether or not such access has been authorized). You agree that access to the User Account will be limited
to the User which subscribed under such account. You agree to immediately notify TopstepTrader if you learn
of or have reason to suspect any unauthorized use of your account or any other breach of security.

You acknowledge and agree that TopstepTrader is authorized to act on all instructions received through your
User Account, and that TopstepTrader may, but is not obligated to, deny access or block any transaction
made through use of your User Account without prior notice if we believe that such User Account is being
used by someone other than its registered User, or for any other reason.

TopstepTrader reserves the right to refuse to grant particular User Credentials to any individual for any
reason, including, without limitation, if such User Credentials impersonates someone else, is protected by
trademark or other proprietary rights law, or is vulgar or o ensive. TopstepTrader shall not be liable for any
loss or damage arising from a User’s failure to comply with this Section.

12. Submitting Content or Comments on Our Sites

If you submit blogs, comments, or other content intended for public display on any of our Sites or Services
(“User Content”), you agree to abide by these Terms.
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You shall not submit User Content on our Sites or Services that: is illegal, indecent, profane (either directly or
indirectly through partially obscured words, letters, phrases, terminology or the like), threatening,
defamatory, derogatory, counter to TopstepTrader’s Privacy Policy or otherwise injurious to TopstepTrader or
any third parties, constitute commercial solicitation or advertising (except where pre-approved in writing by
TopstepTrader), or consist primarily of an unsolicited electronic mass mailing.

User Content shall not be abusive or harassing to any person. You may not submit materials that are or
purport to be the personally identifiable information about others, such as full name, postal address, email
address, telephone number or any other personal attribute which would constitute an invasion of privacy.
User Content shall not be obscene, objectionable, o ensive, tortious, deceptive, fraudulent, or invasive of
another’s privacy or publicity rights.

TopstepTrader does not guarantee that User Content will remain private, even if such User Content is entered
into a password-protected section of the Sites or Services. Accordingly, you should not provide User Content
that you want protected from others.

User Content shall not contain a so ware virus, worm, spyware, Trojan horse or other computer code, file or
program designed to interrupt, impair, destroy or limit the functionality of any computer so ware or
hardware or telecommunications equipment.

User Content shall not infringe in any manner on the copyright, trademark or other intellectual property
rights of any person or entity, or that contain privileged, confidential, proprietary or trade-secret information
of any individual or entity, or that may violate the legal right of any person or entity in any jurisdiction or
locale.

If you wish to submit materials to any of our Sites or Services, you are prohibited from impersonating any
other individual or entity, or otherwise misleading the same as to the origin of the comments.

You agree to disclose any conflict of interest, ownership interest, business, employment or other financial
relationship you have with any company or financial instruments named in any User Content. You agree not
to submit User Content with the intent to increase or decrease a financial instrument’s price and sell or
purchase such financial instrument as a result of such increase or decrease. You agree to disclose any intent
to purchase or sell a stock within three trading days of submitting User Content that discusses that stock.

You shall not submit User Content that violates any local, state, national or international law, including but
not limited to regulations of the U.S. Securities and Exchange Commission and the U.S. Commodity Futures
Trading Commission or other securities laws and the rules of any securities exchange. You agree that User
Content will not constitute illegal activity, give rise to civil liability, or violate the contractual, personal,
intellectual property or other rights of any other party.
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13. License

By submitting User Content, you grant TopstepTrader an unrestricted, worldwide, non-exclusive, irrevocable,
perpetual, fully paid-up and royalty-free right and license, in any form or format, in whole or in part, to host,
store, maintain, use, reproduce, distribute, display, publish, modify, prepare derivative works of, and
otherwise exploit all or any portion of such User Content on the Sites or Services and on any other websites,
channels, or distribution platforms, for any purpose whatsoever, without accounting, notification, credit or
other obligation to you, and the right to license and sublicense and authorize others to exercise any of the
rights granted hereunder to TopstepTrader, in its sole discretion. All rights, licenses and privileges herein
described are granted to TopstepTrader immediately upon submission of User Content and shall continue
perpetually and indefinitely.

14. Contests

From time to time, TopstepTrader may o er games and contests through its Sites or Services (individually, a
“Contest” and collectively, the “Contests”). Contests shall be supplemented by any o icial rules associated
with a particular Contest (the “O icial Rules”).

    a. Entry. Contests may be free to enter or may have an entry fee. All payments for Contests are final and
    no refunds will be issued. All entries to the Contests by a User Account will be deemed to have been
    submitted by the User whose User Account submitted such entry.

    b. Conditions of Participation. Only such Users with User Accounts may participate in the Contests. By
    entering a Contest, you agree to be bound by all O icial Rules and any decisions of TopstepTrader, which
    shall be final and binding in all respects. TopstepTrader may (i) disqualify any entrant from a Contest or
    (ii) refuse to award benefits or prizes or require the return of any prizes, if TopstepTrader determines, in
    its sole discretion, that an entrant has engaged in conduct that the Company deems improper, unfair or
    otherwise adverse to the operation of the Contest, violates the O icial Rules, or is in any way detrimental
    to other entrants. TopstepTrader reserves the right to deny any contestant the ability to participate in
    Contests for any reason whatsoever.

    If for any reason a Contest is not capable of running as originally planned, or if a Contest, computer
    application, or website associated therewith (or any portion thereof) becomes corrupted or does not
    allow the proper entry to a Contest in accordance with these Terms or the O icial Rules, or if infection by
    a computer (or similar) virus, bug, tampering, unauthorized intervention, actions by entrants, fraud,
    technical failures, or any other causes of any kind, in the sole opinion of TopstepTrader corrupts or
    a ects the administration, security, fairness, integrity, or proper conduct of a Contest, TopstepTrader
    reserves the right, at its sole discretion, to disqualify any individual implicated in such action and/or to
    cancel, terminate, extend, modify or suspend the Contest, and select the winner(s) from all eligible
    entries received. If such cancellation, termination, modification or suspension occurs, notification will be
    posted on the Sites or Services.
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To be eligible to enter any contest or receive any prize, a User may be required to provide TopstepTrader
with additional documentation and/or information to verify the identity of the User, and to provide proof
that all eligibility requirements are met. In the event of a dispute as to the identity or eligibility of User,
TopstepTrader will, in its sole and absolute discretion, utilize certain information collected by
TopstepTrader to assist in verifying the identity and/or eligibility of such User.

c. Publicity/Privacy Release. Where legal, both entrants and winner consent to the use of their name,
voice, likeness and photograph in and in connection with the development, production, distribution
and/or exploitation of any Contest or the Sites or Services. Winners agree that from the date of
notification by TopstepTrader of their status as a potential winner and continuing until such time when
TopstepTrader informs them that they no longer need to do so that they will make themselves available
to TopstepTrader for publicity, advertising, and promotion activities.

d. Contest of Skill. Contests o ered through the Sites or Services are contests of skill. Winners are
determined by the objective criteria described in the O icial Rules, deadlines, scoring and any other
applicable documentation associated with the Contest. From all entries received for each Contest,
winners are determined by the individuals who use their skill and knowledge of relevant trading
information and trading concepts to accumulate the most points according to the corresponding
scoring rules. The Sites or Services may not be used for any form of illicit gambling.

e. Results. Contest results and prize calculations are based on the final statistics and scoring results at
the completion of each individual Contest. Once Contest results are reviewed and graded, prizes will be
awarded. The scoring results of a Contest will not be changed regardless of any o icial statistics or
adjustments made at later times or dates, except in TopstepTrader’s sole discretion.

f. Payment and Withdrawal of Prizes. Winners will be posted on the TopstepTrader website. Entrants
may be required to complete an a idavit of eligibility and a liability or publicity release and appropriate
tax forms. Entrants may also be required to provide identification, including but not limited to a Driver’s
License, proof of residence and/or any information relating to payment or deposit accounts as
reasonably requested by TopstepTrader in order to complete the withdrawal of prizes. TopstepTrader
may, in its sole discretion, require a User to execute a release of any claims as a condition to being
awarded any prize or receiving any payout. Failure to comply with this requirement may result in
disqualification and forfeiture of any prizes. Disqualification or forfeiture of any prizes may also occur if it
is determined any such entrant did not comply with these Terms in any manner.

g. Taxes. All taxes associated with the receipt of any prize are the sole responsibility of the winner. In the
event that the awarding of any prizes to winners of Contests is challenged by any legal authority,
TopstepTrader reserves the right in its sole discretion to determine whether or not to award such prizes.

h. Substitution of Prizes. No substitution or transfer of prize is permitted, except that TopstepTrader
reserves the right to substitute a prize of equal value or greater if the advertised prize is unavailable. All
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     prizes are awarded “as is” and without warranty of any kind, express or implied (including, without
     limitation, any implied warranty of merchantability for a particular purpose).

15. Intellectual Property, Trademarks and Copyrights

TopstepTrader Sites or Services and their entire contents, features, and functionality (including, all
information, so ware, text, displays, images, video and audio, and the design, selection and arrangement
thereof), are owned by TopstepTrader, its licensors or other providers of such material and are protected by
United States and international copyright, trademark, patent, trade secret, and other intellectual property or
proprietary rights laws and treaties. You shall not challenge the ownership or rights in the content on
TopstepTrader Sites or Services or any component thereof.

You are granted a nonexclusive, nontransferable, limited and revocable right to access, use, display and
navigate our Sites or Services solely for your personal, non-commercial and non-public use. You shall not
reproduce, distribute, modify, create derivative works of, publicly display, publicly perform, republish,
download, store or transmit any of our material, except for your personal, non-commercial and non-public
use. You shall not access or use for any commercial purposes any part of our Sites or Services.

If you print, copy, modify, download, or otherwise use or provide any other person with access to any part of
our Sites or Services in breach of these Terms, your right to use TopstepTrader Sites or Services will cease
immediately and you must, at our option, return or destroy any copies of the materials you have made. No
right, title, or interest in or to our Sites or Services or any content on our Sites or Services is transferred to you,
and all rights not expressly granted are reserved by TopstepTrader. Any use of our Sites or Services not
expressly permitted by these Terms is a breach of these Terms and may violate copyright, trademark, and
other laws.

The trademarks, service marks, slogans, logos, trade dress and other identifiers (“Marks”) displayed on
TopstepTrader Sites or Services are the property of TopstepTrader, unless otherwise disclosed. You are
prohibited from using, removing, or altering any Marks for any purpose including use on other materials, in
presentations, as domain names, or as meta-tags, without our written permission.

Except as expressly provided above, no portion of our Sites or Services, their contents or any copyright,
trademark, trade name, service mark or any other proprietary information of TopstepTrader (collectively, the
“Intellectual Property”) displayed on TopstepTrader Sites or Services or on any of the Content may be
reproduced, altered, removed, transmitted, published or distributed, whether electronically, mechanically, by
photocopy, recording or otherwise, without the prior written permission of TopstepTrader. Use of any
TopstepTrader trademarks as metatags on any third-party site is strictly prohibited. You may not co-brand our
site or display our site in frames (or any of the Content via in-line links) without prior written permission from
TopstepTrader (“co-brand” means your display of any of the Intellectual Property, or your taking of other
means of attribution or identification of TopstepTrader in such a manner reasonably likely to give a third
party the impression that you or the third party has the right to display, publish or distribute our Sites or
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Services or any Content). You agree to cooperate with TopstepTrader in causing any unauthorized co-
branding, framing or linking to immediately cease. You may not remove, modify or alter any copyright,
trademark or patent notice from any product delivered by us. You agree not to undertake any action that will
interfere with or diminish our right, title or interest in our Intellectual Property.

16. Digital Millennium Copyright Act

The following policy has been adopted pursuant to the Digital Millennium Copyright Act (found at
http://lcweb.loc.gov/copyright/legislation/dmca.pdf):

The address of the Designated Agent to Receive Notification of Claimed Infringement (“Designated Agent”)
can be found above under Section 1. If you believe that content or material provided through the Sites or
Services infringes a copyright, please send a notice containing the following information to the Designated
Agent:

    (i)  a physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive
    right that is allegedly infringed;

    (ii)  identification of the copyrighted work claimed to have been infringed, or, if multiple copyrighted
    works at a single online site are covered by a single notification, a representative list of such works at
    that site;

    (iii)  identification of the material that is claimed to be infringing or the subject of infringing activity and
    that is to be removed or access to which is to be disabled, and information reasonably su icient to
    permit us to locate the material;

    (iv)  information reasonably su icient to permit us to contact you, such as an address, telephone
    number, and, if available, an email address at which you may be contacted;

    (v)  a statement that you have a good faith belief that use of the material in the manner complained of is
    not authorized by the copyright owner, its agent, or the law; and

    (vi)  a statement that the information in the notification is accurate, and under penalty of perjury, that
    the complaining party is authorized to act on behalf of the owner of an exclusive right that is allegedly
    infringed.

17. Termination

Users may terminate receipt of any free service publications at any time by sending TopstepTrader a request
for removal from the relevant distribution list. All free service publication emails will include a link allowing a
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User to unsubscribe. If you wish to terminate receipt of such publications, please use the link on the attached
email or see the contact information provided above.

TopstepTrader reserves the right to terminate your access to any of the TopstepTrader Sites or Services at any
time at its sole discretion. Such termination may result from a violation of the Terms or other referenced
agreements, unauthorized use or reproduction of any publication or information, or any other reason
determined in TopstepTrader’s sole discretion. If such access is terminated, you agree you will not attempt to
establish a new User Account under any name, real or assumed. All provision of these Terms shall survive
termination, including, without limitation, ownership provisions, warranty disclaimers, indemnities and
limitations of liability.

18. Jurisdiction and Enforceability

These Terms shall be governed by and construed in accordance with the laws of the State of Illinois and the
United States of America, without giving e ect to any principles of conflicts of law. You irrevocably consent to
the exclusive jurisdiction of the courts located in the State of Illinois in connection with any action arising out
of or related to these Terms or their subject matter. You waive any objection based on lack of personal
jurisdiction, place of residence, improper venue or forum non conveniens in any such action.

19. Force Majeure

We will not be liable or responsible for any failure to perform, or delay in performance of, any of our
obligations under these Terms that is caused by a Force Majeure Event. A “Force Majeure Event” means any
act or event beyond our reasonable control, including strikes, lock-outs or other industrial action by third
parties, civil commotion, riot, invasion, terrorist attack or threat of terrorist attack, war (whether declared or
not) or threat or preparation for war, fire, explosion, storm, flood, earthquake, subsidence, epidemic or other
natural disaster, or failure of public or private telecommunications networks or impossibility of the use of
railways, shipping, aircra , motor transport or other means of public or private transport. If a Force Majeure
Event takes place that a ects the performance of our obligations under these Terms we will contact you as
soon as reasonably possible to notify you. Our obligations under these Terms will be suspended and the time
for performance of our obligations will be extended for the duration of a Force Majeure Event.

20. Waiver of Class Action Rights

IN ANY DISPUTE, NEITHER YOU NOR ANY OTHER PERSON SHALL BE ENTITLED TO JOIN OR CONSOLIDATE
CLAIMS BY OR AGAINST OTHER AFFILIATES OR PERSONS, OR ARBITRATE ANY CLAIM AS A REPRESENTATIVE
OR CLASS ACTION OR IN A PRIVATE ATTORNEY GENERAL CAPACITY. YOU ACKNOWLEDGE THAT YOU ARE
GIVING UP YOUR RIGHTS TO PARTICIPATE IN A CLASS ACTION OR REPRESENTATIVE ACTION WITH RESPECT
TO ANY SUCH CLAIM.
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21. Indemnification

You agree to indemnify, defend, and hold TopstepTrader, its parents, subsidiaries, a iliates, any related
companies, suppliers, licensors and partners, and the o icers, directors, employees, agents and
representatives of each (collectively, the “TopstepTrader Parties”) harmless, including costs, liabilities and
legal fees, from any claim or demand made by any third party arising out of or relating to (i) your access to or
use of our Sites or Services, (ii) your violation of the Terms, (iii) the infringement by you, or any third party
using your account, of any intellectual property or other right of any person or entity, (iv) any funding of your
account and any payment methods used. TopstepTrader reserves the right, at your expense, to assume the
exclusive defense and control of any matter for which you are required to indemnify us and you agree to
cooperate with our defense of these claims. You agree not to settle any such matter without the prior written
consent of TopstepTrader. TopstepTrader will use reasonable e orts to notify you of any such claim, action or
proceeding upon becoming aware of it.

22. Other Prohibited Uses

You are solely responsible for any and all acts and omissions that occur under your User Account, and you
agree not to engage in unacceptable use of the Sites or Services or any User Content including:

           Posting, storing or disseminating any unsolicited or unauthorized advertising, promotional
           materials, junk mail, spam, chain letters or other fraudulent schemes, or any other form of
           solicitation
           Using any manual or automated so ware, devices or other processes to “crawl” or “spider” any
           web pages contained in the Sites or Services
           Using the Sites or Services to gain competitive intelligence about TopstepTrader or the Sites or
           Services to compete with TopstepTrader or its a iliates
           Harvesting or otherwise collecting any information about other users, including, without
           limitation, email addresses or other contact information

23. Other Important Terms

These Terms are in addition to any other agreements between you and TopstepTrader.

Nothing in these Terms shall create or be deemed to create a partnership, agency, trust arrangement,
fiduciary relationship or joint venture between you and TopstepTrader. Neither you nor TopstepTrader shall
have any right, power or authority to act or create any obligation, express or implied, on behalf of the other
party.

You agree that breach of the provisions of this Agreement would cause irreparable harm and significant injury
to TopstepTrader which would be both di icult to ascertain and which would not be compensable by
damages alone. As such, you agree that TopstepTrader has the right to enforce the provisions of this
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     Agreement by injunction (without necessity of posting bond), specific performance or other equitable relief
     without prejudice to any other rights and remedies TopstepTrader may have for your breach of this
     Agreement.

     We reserve the right at any time in our sole discretion to: modify, suspend or discontinue our Sites or Services
     or any service, content, feature or product o ered through our Sites or Services, with or without notice;
     charge fees in connection with the use of our Sites or Services; modify and/or waive any fees charged in
     connection with our Sites or Services; and/or o er opportunities to some or all users of our Sites or Services.
     You agree that we shall not be liable to you or to any third party for any modification, suspension or
     discontinuance of our Sites or Services, or any service, content, feature or product o ered through our Sites
     or Services.

     Each of the paragraphs of these Terms operates separately. If any court or relevant authority decides that any
     of them are unlawful or unenforceable, the remaining paragraphs will remain in full force and e ect.

     If we fail to insist that you perform any of your obligations under these Terms, or if we do not enforce our
     rights against you, or if we delay in doing so, that will not mean that we have waived our rights against you
     and will not mean that you do not have to comply with those obligations. If we do waive a default by you, we
     will only do so in writing, and that will not mean that we will automatically waive any later default by you.

     We may terminate these Terms at any time without notice, and accordingly may deny you access to our Sites
     or Services, if in our sole judgment you fail to comply with any term or provision of these Terms. The
     obligations and liabilities of the parties incurred prior to the termination date shall survive the termination of
     these Terms for all purposes.

     24. Feedback

     TopstepTrader welcomes your comments, feedback, information or other materials regarding the Sites or
     Services (collectively, “Feedback”). If you submit Feedback to TopstepTrader, please note that your Feedback
     shall become the property of the Company, and you hereby irrevocably assign to TopstepTrader all right, title
     and interest in and to the Feedback and all copyrights and other intellectual property rights embodied in
     such Feedback on a worldwide basis.

     © 2016 TopstepTrader, LLC. All rights reserved.

 



    Log In                                                      About

    Sign Up                                                     Careers
    Learn How                                                   Privacy Policy
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   Learn How                                                                          Privacy Policy

   A iliate Program                                                                   Terms of Use


   Help Center                                                                        Refer a Friend

   Status Updates                                                                     Apparel Shop

   Calendar                                                                           English Blog

   Contact                                                                            Блог [RU]


   Facebook

   Twitter

   LinkedIn

   YouTube



                                                                                    Join Our
                                                                                    Chat
                                                                                    Community




                                   TopstepTrader, LLC 130 South Je erson Suite 200 Chicago, Illinois 60661 1 (888) 407-1611

                                                   We do not o er commodity trading advice or recommendations.

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CFTC Rules 4.41 - Hypothetical or Simulated performance results have certain limitations. Unlike an actual performance record, simulated results do not represent
actual trading. Also, because the trades have not actually been executed, the results may have under-or-over compensated for the impact, if any, of certain market
factors, such as lack of liquidity. Simulated trading programs in general are also subject to the fact that they are designed with the bene t of hindsight. No
representation is being made that any account will or is likely to achieve pro t or losses similar to those shown.
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 Status Updates
 Live updates on data feed, Trade Report, and account alerts.




 We are currently not experiencing any issues.
 If we are ever experiencing any issues, we will keep you updated here.

 Status updates will posted be every 15-20 minutes during support hours.




Log In                                                             About

Sign Up                                                            Careers

Learn How                                                          Privacy Policy

A iliate Program                                                   Terms of Use


Help Center                                                        Refer a Friend

Status Updates                                                     Apparel Shop

Calendar                                                           English Blog

Contact                                                            Russian Blog


Facebook

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                                                                  Join Our
                                                                  Chat
                                                                  Community




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                                 We do not o er commodity trading advice or recommendations.

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     Home      Catalog    Collections     About     Tick Value Conversion
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                                  TopstepTrader
                                 1/4 Zip-Up
                                       $58
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                                  TopstepTrader
                      3/4 Sleeve Baseball T-Shirt
                                       $29
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                                  TopstepTrader

                                    Beanie
                                       $16
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                                  TopstepTrader
                                      Polo
                                       $42
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                                  TopstepTrader

                           Short Sleeve T-Shirt
                                       $27
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                                  TopstepTrader

                               Snapback Hat
                                       $21




                             VISIT TOPSTEPTRADER



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                        Refer a Friend
          Empower your friends with the opportunity to earn a Funded Account™.




You can win a free Trading Combine by simply
                   sharing
  the TopstepTrader opportunity with your
             friends and family.
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It’s easy to refer & all our users are invited to
                   participate!

          1     Fill in the form.

       Simply enter the names and email
       addresses of those friends you
       want to refer.

          2     We'll send an o er.

       Your friends will get an o er for
       20% o to start their first Trading
       Combine® within 72 hours of your
       submission.

          3     You can get rewarded.

       We'll enter your name into a monthly
       drawing for a free Trading Combine.
       Every verified email address is another
       free entry so share the funding opportunity
       with all your friends! The winner will be
       emailed within the first week of the following month.




                   Share With Your Friends
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                Friend's First Name*      Friend's Email Address*




                Friend's First Name       Friend's Email Address




                Friend's First Name       Friend's Email Address




                Friend's First Name       Friend's Email Address




                Friend's First Name       Friend's Email Address




                Friend's First Name       Friend's Email Address




                Friend's First Name       Friend's Email Address




                Friend's First Name       Friend's Email Address




                Friend's First Name       Friend's Email Address




                Friend's First Name       Friend's Email Address




                Your information
                First Name                Last Name




                Email*
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                                  TopstepTrader

                                 1/4 Zip-Up
                                        $58
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                                  TopstepTrader
                      3/4 Sleeve Baseball T-Shirt
                                       $29
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                                  TopstepTrader
                                Baseball Hat
                                       $25
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                                  TopstepTrader

                                    Beanie
                                       $16
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                                  TopstepTrader
                        Long Sleeve Dress Shirt
                                       $40
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                                  TopstepTrader

                                      Polo
                                       $42
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                                  TopstepTrader

                           Short Sleeve T-Shirt
                                       $27
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                                  TopstepTrader

                               Snapback Hat
                                       $21
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                                  TopstepTrader

                                 Sunglasses
                                       $5
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                                  TopstepTrader

                                  Swag Bag
                                       $15
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                                  TopstepTrader

                                 Trucker Hat
                                       $17
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                     Your TopstepTrader Gift Card
                                    from $10




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                                Professional

                                      Tops



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ABOUT TOPSTEPTRADER®

TopstepTrader® is the only rm of its kind, whose sole purpose is to fund traders. The funding
process consists of a trader's performance being evaluated in a Trading Combine® - a real-time,
simulated account. If traders can follow the risk criteria and meet the pro t targets, they receive a
Funded Account™ where they trade real capital, keeping up to 100% of the pro ts. To date,
TopstepTrader has funded 1,000+ traders, averaging more than 40 new funded traders a month.

For more information, please visit topsteptrader.com. If you have any questions, please contact our
Support Team at support@topsteptrader.com or call 888-407-1611.




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